Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 1 of 76




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                         Case No. 12-cr-20276-MORENO/O'SULLIVAN

   UNITED STATES OF AMERICA,
        Plaintiff,

   v.

   HENRY LEE BRYANT,
   DANIEL MACK and
   OCTAVIUS MCLENDON
        Defendants.
   ________________________________/

                              REPORT AND RECOMMENDATION

         THIS MATTER is before the Court on Defendant Henry Lee Bryant’s Rule 33

   Motion for New Trial Based on Newly Discovered Evidence with Incorporated

   Memorandum of Law, and Motions for Full Discovery, for an Evidentiary Hearing, and to

   Adopt the Corresponding Motions Filed or to Be Filed by and on Behalf of

   Codefendants Mack & McLendon (DE# 181, 10/8/15) (hereinafter “Bryant’s Motion for

   New Trial”), Defendant Daniel Mack’s Motion for New Trial Pursuant to Fed. R. Crim. P.

   Rule 33 and Brady v. Maryland, 373 U.S. 83 (1963), and Request for Hearing (DE#

   182, 10/8/15) (hereinafter “Mack’s Motion for New Trial”) and Defendant McLendon’s

   Motion for New Trial and an Evidentiary Hearing and Supporting Memorandum of Law

   (DE# 187, 10/13/15) (hereinafter “McLendon’s Motion for New Trial”).1

         Having reviewed the parties’ filings and having conducted an evidentiary hearing

   on May 31, 2016 and June 2, 2016, the undersigned RESPECTFULLY

   RECOMMENDS that Bryant's Motion for New Trial (DE# 181, 10/8/15) and McLendon’s

   Motion for New Trial (DE# 187, 10/13/15) be DENIED and that Mack’s Motion for New

   Trial be GRANTED for the reasons set forth below.


         1
             The defendants adopt the arguments raised in each other’s filings.
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 2 of 76




                                        BACKGROUND

   A.     The Defendants’ Convictions

          Henry Lee Bryant, Daniel Mack and Octavius McLendon were charged with

   conspiracy to possess with intent to distribute cocaine in violation of Title 21, United

   States Code, Section 846 (Count 1); two counts of attempting to possess with intent to

   distribute cocaine in violation of Title 21, United States Code, Section 846 (Counts 2

   and 3) and possession of a firearm during and in relation to a drug trafficking crime in

   violation of Title 21, United States Code, Section 924(a)(1)(A) and 2 (Count 4). See

   Superseding Indictment (DE# 38, 6/29/12). The trial in this case began on October 2,

   2012 and continued through October 10, 2012. During the trial, the government

   presented the testimony of FBI Special Agent Dante Jackson (hereinafter “Agent

   Jackson”) and Baltimore Police Detective KayTee Tyson, among other witnesses.

          On October 10, 2012, the jury returned guilty verdicts against Mr. Bryant and Mr.

   McLendon on all charges. See Judgments in a Criminal Case (DE# 121, 123,

   12/21/12). Mr. Mack was convicted of all charges except one count of attempting to

   possess with intent to distribute cocaine. See Judgment in a Criminal Case (DE# 122,

   12/21/12).2

   B.     The Appeal

          The defendants appealed their convictions. Mr. Bryant also appealed his

   sentence. On July 24, 2014, the Eleventh Circuit affirmed the defendants’ convictions



          2
            “Mack was specifically convicted of carrying a firearm during and in relation to
   the drug trafficking crime, McLendon and Bryant were convicted of possessing a firearm
   in furtherance of the crime (on an aiding-and-abetting theory).” United States v. Mack,
   572 F. App'x 910, 924 n.14 (11th Cir. 2014).

                                                2
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 3 of 76




   and Mr. Bryant’s sentence. See United States v. Mack, 572 F. App’x 910 (11th Cir.

   2014). The Eleventh Circuit found that there was sufficient evidence to support the

   defendants’ convictions for the drug charges and the firearm charges.3

          In addressing the drug charges, the Eleventh Circuit considered “the sufficiency

   of the evidence that Defendants knew that the transaction involved drugs.” Id. at 917.

   With respect to Mr. Bryant, the Eleventh Circuit stated that:

          The record is rife with evidence of Bryant’s knowledge that the
          contents of the cargo consisted of drugs. On December 9, 2011,
          Agent Jackson told Bryant “it’s ten keys . . ., I mean that’s what gonna be
          moving.” Bryant responded, “okay.” Jackson repeated himself, to be clear
          that Bryant understood, “[j]ust so you know. Uh, its ten kilo’s.” Bryant
          again said, “okay.” Bryant acknowledged that moving the drugs was “a
          huge risk” and that the police he had recruited to do the job “usually get
          paid four, five gran’ a piece.”

          Later in the conversation, Agent Jackson stated, “it’s not a incre-,
          incredible amount of cocaine, I mean so it ain’t a ton. Know what I
          mean?” Bryant replied, “I understand, I understand.” Jackson also said
          that “cocaine prices isn't what it used to be . . . .” Bryant hung up when
          Jackson, on one occasion, referred to the “coke” during a telephone
          conversation with him, and later chided Jackson for using that term on the
          telephone. Bryant suggested that Agent Jackson could use many other
          terms to refer to cocaine. There can be no doubt that Bryant knew
          exactly what he had agreed to transport. Thus, his conviction on the
          drug charges must be upheld.

   Id. at 917-18 (emphasis added; footnote omitted).4

          As to Mr. McLendon, the Eleventh Circuit stated that:

          The evidence is ample with respect to McLendon’s knowledge that

          3
          The Eleventh Circuit reviewed the evidence in the light most favorable to the
   government. Mack, 572 F. App’x at 917.
          4
            The Eleventh Circuit’s opinion states that Mr. Bryant hung up the phone when
   Agent Jackson used the word “coke.” However, the transcript of the December 10, 2011
   conversation shows that Agent Jackson used the word “dope.” See Government’s
   Exhibit 53, Tab D at 2.

                                               3
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 4 of 76




          the offense involved drugs. Bryant stated to Agent Jackson that
          McLendon would serve as his “point man” to the police officers on the
          transaction and that he and McLendon have been “in this thing” since they
          were children.

          In addition, McLendon's knowledge of the drugs is supported by
          independent evidence. McLendon was present at the nightclub office on
          December 21, 2011 when Det. Tyson marked each of the nine
          brick-shaped items, counted them, and placed them in a duffel bag. Det.
          Tyson then handed the bag to McLendon and told him that “there’s nine in
          there” and that “[they] need[ed] to make sure all nine of these get there.”

          McLendon contends that he was not told what was contained in the
          “opaque, brick-shaped, shrink-wrapped items that were placed in a duffel
          bag by the undercover agents and given to him and Bryant to transport.”
          But Det. Tyson instructed both Bryant and McLendon that there can
          be “no deviation, no test, no taste” and asked “neither one of y'all
          get high right?”

          McLendon points out that Det. Tyson himself told McLendon and Bryant
          that they were transporting money, not drugs, by making the statement
          “cause this money, see what I'm saying?” However, that statement was
          made immediately after Tyson had counted the nine brick-like objects and
          after he had handed the bag to McLendon, cautioning him that they
          needed to make sure the cargo reaches its destination intact. Thus, this
          statement is consistent with Tyson’s testimony that he sought to
          communicate to McLendon and Bryant that the nine kilograms of cocaine
          were worth a lot of money to him. In sum, the evidence in the record
          fully sustains McLendon's conviction on the drug charges.

   Mack, 572 F. App’x at 918-19 (emphasis added).

          Finally, with respect to Mr. Mack, the Eleventh Circuit acknowledged that “the

   evidence of Mack’s knowledge of the drugs [wa]s not overwhelming.” Mack, 572 F.

   App’x at 919. Nonetheless, the Eleventh Circuit determined that there was sufficient

   evidence to support Mr. Mack’s conviction on the drug charges. Id. Specifically, the

   Eleventh Circuit noted that Mr. Mack arrived at a meeting on January 14, 2012 wearing

   his full police uniform, but no name tag, and had a visible weapon in its holster. Id.

   Approximately two hours later, FBI agents observed Mr. Mack’s marked police vehicle


                                                4
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 5 of 76




   closely following the vehicle Mr. Bryant and Mr. McLendon were using to transport the

   sham cocaine. Id. The Eleventh Circuit noted that it “ha[s] held that [a defendant’s]

   ‘repeated presence at the scene of the drug trafficking . . . can give rise to a permissible

   inference of participation in the conspiracy’” and that “[a]lthough ‘mere presence,’

   standing alone, is insufficient to support a conviction for a drug-related offense, it is ‘a

   material and probative factor’ that may be considered by the jury in reaching the

   verdict.” Id. (citing United States v. Calderon, 127 F.3d 1314, 1326 (11th Cir. 1997) and

   United States v. Baptista-Rodriguez, 17 F.3d 1354, 1374 (11th Cir. 1994)). The

   Eleventh Circuit stated that “Mack’s presence extend[ed] not only to his participation in

   the January 14, 2012 meeting, but to his subsequent escort of the drugs later that day.”

   Mack, 572 F. App'x at 919. The Eleventh Circuit further stated that “the record

   reflect[ed] additional proved circumstances that support the inference of Mack’s guilty

   knowledge” and cited a conversation between Mr. Mack and Agent Jackson during the

   January 14, 2012 meeting:

          The undercover agents told Mack that, as a result of the police officer
          layoffs, they would be able to do more business in Miami and would “get
          rich” because Miami would be “wide open.” Agent Jackson then confided
          in Mack that Miami was “new territory” for him and Tyson, and that they
          had “this many t-shirts coming through you know what I mean, we just
          want to make sure everything is right you know what I mean.” Mack stated
          that he understood and respected that.

   Id. at 920. The Eleventh Circuit noted “[a]lthough Mack did not say much during the

   meeting, ‘[a]n illegal agreement may be inferred from the conspirators' conduct and

   other circumstantial evidence.’” Id. (quoting Baptista-Rodriguez, 17 F.3d at 1374).

          The Eleventh Circuit rejected Mr. Mack’s “conten[tion] that there [wa]s no direct

   evidence of his knowledge that ‘t-shirts’ [wa]s one of the many code words for drugs,”


                                                 5
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 6 of 76




   noting that “Agent Jackson, who [wa]s an agent on the drug squad, testified that

   ‘t-shirts’ was a very common word for cocaine ‘not just [in] Atlanta, . . . but everywhere’;

   it was also a term [Agent Jackson] had used with Bryant in reference to the drugs

   involved in this case.” Id. at 920. The Eleventh Circuit reasoned that:

          In light of Mack’s 16-year experience on the Miami-Dade police force, the
          jury could reasonably have inferred that Mack knew exactly what Jackson
          was referring to and that he knew that the indubitably criminal activity in
          which he was about to participate involved drugs.

          Finally, Bryant made numerous statements to the undercover agents
          assuring them that Mack knew everything. These statements likely
          bolstered the government’s case against Mack on the drug charges.
          However, they are not necessary to sustain a guilty verdict. Even absent
          these statements, the cumulative effect of the circumstantial evidence
          discussed above is sufficient to show Mack’s knowledge of the drugs.
          Accordingly, taken in the light most favorable to the verdict, we cannot say
          that the record reveals a lack of substantial evidence from which a
          factfinder could find guilt beyond a reasonable doubt.

   Id. at 920-21 (footnotes omitted).

          The Eleventh Circuit also determined that there was sufficient evidence to

   support the firearm charge (Count 4). “The jury found Mack guilty of carrying a firearm

   during and in relation to the drug trafficking crime, in violation of 18 U.S.C. § 924(c)”

   and “Bryant and McLendon were found guilty of possessing a firearm in furtherance of

   the drug trafficking crime, in violation of 18 U.S.C. §§ 924(c) and 2.” Mack, 572 F. App’x

   at 921. With respect to Mr. Mack, the Eleventh Circuit noted that:

          It [wa]s undisputed that Mack was carrying his firearm approximately two
          hours before the actual drug transportation. He knew of the illegal nature
          of the conspiracy, and he understood that his police officer status was a
          necessary condition to his participation in the deal. In light of this
          evidence, it was reasonable for the jury to conclude that Mack carried a
          firearm in relation to the drug trafficking conspiracy.

   Id. at 922. As to Mr. Bryant and Mr. McLendon, the Eleventh Circuit concluded that


                                                 6
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 7 of 76




   there was sufficient evidence to support their guilty verdicts for aiding and abetting in

   Mr. Mack’s section 924(c) firearm offense. Id. at 924-25.

          During the pendency of the appeal, the government disclosed to the defendants

   that Agent Jackson was under investigation for allegations arising out of his relationship

   with a former FBI confidential source. The former source was later identified as Mani

   Chulpayev. There is no record evidence that the case agent was aware of Agent

   Jackson’s misconduct5 prior to trial. The parties have stipulated that the two Assistant

   United States Attorneys who prosecuted the case were also unaware of Agent

   Jackson’s misconduct prior to trial.

   C.     The Instant Motions for New Trial

          On October 8, 2015, Mr. Bryant and Mr. Mack filed motions for new trial. See

   Bryant’s Motion for New Trial (DE# 181, 10/8/15); Mack’s Motion for New Trial (DE#

   182, 10/8/15). On October 13, 2016, Mr. McLendon also filed a motion for new trial.

   See McLendon’s Motion for New Trial (DE# 187, 10/13/15).

          On November 2, 2015, the government filed an omnibus response to the

   defendants’ motions for new trial. See United States’ Omnibus Response to New Trial

   Motions Filed by Defendants Bryant [D.E. 181], Mack [D.E. 182], and McLendon [D.E.




          5
              To the undersigned’s knowledge the DOJ-OIG’s investigation of Agent Jackson
   is still ongoing and Agent Jackson has not yet been charged with any crime or policy
   violation. Nonetheless, and for purposes of the instant motion, the government does not
   dispute some of the misconduct by Agent Jackson. See Government’s Supplemental
   Memorandum (DE# 281 at 2-3, 7/25/15) (stating that “[w]hile Jackson has been neither
   charged nor convicted with doing [these alleged acts], a comprehensive review of the
   DOJ-OIG’s investigation objectively revealed policy violations which the government did
   not contest for purposes of the evidentiary hearing.”).

                                                7
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 8 of 76




   187] (DE# 191, 11/2/15) (hereinafter “Government’s Omnibus Response”).6 The

   defendants filed replies to the Government’s Omnibus Response on November 16,

   2015. See Defendant Henry Lee Bryant’s Reply to the Government’s Omnibus

   Response to the Motions for New Trial (DE# 195, 11/16/15) (hereinafter “Bryant’s

   Reply”); Defendant Mack’s Reply to United States’ Omnibus Response to New Trial

   Motions [DE191] (DE# 194, 11/16/15) (hereinafter “Mack’s Reply”); Defendant

   McLendon’s Reply to Response to Motion for New Trial, Discovery, and Evidentiary

   Hearing (DE# 196, 11/15/16) (hereinafter “McLendon’s Reply”). On January 11, 2016,

   the government filed a Notice of Filing Supplemental Authority (DE# 202, 1/11/2016).

         On May 31, 2016 and June 2, 2016, the Court held an evidentiary hearing. The

   defendants called Baltimore Police Detective KayTee Tyson (hereinafter “Detective

   Tyson”), FBI Special Agent Matthew Fowler (hereinafter “Case Agent Fowler”) and

   Department of Justice Office of Inspector General Special Agent Susan Howell

   (hereinafter “Agent Howell”) as witnesses. See Transcripts (DE# 257, 6/7/16; DE# 268,

   6/22/16).7

         Following the evidentiary hearing, the Court allowed the parties to file

   supplemental briefs. On June 30, 2016, Mr. Mack filed a Memorandum of Law in

   Support of Defendant Daniel Mack’s Motion for New Trial and Motion to Vacate (DE#

   272, 6/30/15) (hereinafter “Mack’s Supplemental Memorandum”). Mr. McLendon filed


         6
           On December 3, 2015, the government filed a notice correcting a sentence in
   its omnibus response. See Notice of Filing (DE# 197, 12/3/15).
         7
           Mr. McLendon sought to call Agent Jackson as a witness at the evidentiary
   hearing. Following a status hearing on June 16, 2016, the parties stipulated to certain
   facts on the record and Mr. McLendon withdrew his request for Agent Jackson’s
   testimony. See Order (DE# 261, 6/16/16).

                                               8
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 9 of 76




   his post-hearing memorandum on July 1, 2016. See Defendant McLendon’s

   Supplemental Memorandum of Law (DE# 276, 7/1/16) (hereinafter “McLendon’s

   Supplemental Memorandum”). On July 2, 2016, Mr. Bryant filed his supplemental

   memorandum. See Defendant Bryant’s Supplemental Memorandum in Support of his

   Rule 33 Motion for a New Trial (DE# 277, 7/2/16) (hereinafter “Bryant’s Supplemental

   Memorandum”).

          The government filed its supplemental memorandum on July 25, 2015. See

   United States’ Supplemental Memorandum of Law in Opposition to Defendant’s

   Motions for New Trial (DE# 281, 7/25/15) (hereinafter “Government’s Supplemental

   Memorandum”). Mr. Mack and Mr. McLendon filed their supplemental replies on

   September 6, 2016. See Defendant Mack’s Reply to United States’ Supplemental

   Memorandum of Law (DE# 289, 9/6/16) (hereinafter “Mack’s Supplemental Reply”);

   Defendant McLendon’s Reply to Government’s Response to Defendants’ Supplemental

   Memoranda of Law (DE# 290, 9/6/16) (hereinafter “McLendon’s Supplemental Reply”).

   Mr. Bryant did not file a supplemental reply. This matter is ripe for adjudication.

                                             FACTS

   A.     The Criminal Investigation

          Haim Turgman was the owner of Club Dolce, a Miami Beach nightclub. In the

   summer of 2011, Mr. Turgman complained to the FBI about numerous Miami Beach

   code enforcement inspectors who were demanding payment in exchange for

   overlooking code violations. Based on Mr. Turgman’s assertions, the FBI began an

   investigation into the allegations of extortion by these code enforcement inspectors. As

   part of its investigation, the FBI took over the operation of Club Dolce. The FBI used an


                                                9
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 10 of 76




   undercover employee, Agent Jackson, to pose as the manager of the nightclub and

   make bribe payments to the corrupt code enforcement inspectors. Mr. Bryant, a fire

   inspector, was one of the code enforcement inspectors who had been extorting money

   from Club Dolce.8

          At some point, the FBI changed the focus of its investigation from an extortion

   investigation to a narcotics investigation. The decision to change the focus of the

   investigation was made by Case Agent Fowler and other Miami agents. It was not made

   by Agent Jackson.

          The FBI’s investigation included telephone records, recorded telephone calls,

   audio and visual recordings of meetings at Agent Jackson’s office in Club Dolce,9

   meetings at restaurants and surveillance of the transport of sham cocaine on two

   occasions. The substance of these meetings is discussed below in the summary of the

   evidence presented at trial. The FBI’s investigation concluded in late January 2012.

          There is no record evidence that Mani Chulpayev was involved in the

   investigation or prosecution of Mr. Bryant, Mr. McLendon and Mr. Mack. Additionally,

   there is no record evidence of Agent Jackson’s misconduct prior to the conclusion of

   the investigation in late January 2012.10



          8
             Mr. Bryant pled guilty to conspiracy to commit extortion under color of official
   right, in violation of Title 18, United States Code, Section 1951(a) and was sentenced to
   a 27-month term of imprisonment to run concurrently with the term of imprisonment
   imposed in the instant case. See United States v. Bryant, Case No. 12-cr-20279-RNS.
          9
          The audio/visual equipment failed to record a meeting on December 2, 2011
   between Agent Jackson and Mr. Bryant.
          10
           The focus of the DOJ-OIG’s investigation into Agent Jackson’s misconduct
   was from January 2012 through April 2013.

                                               10
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 11 of 76




   B.     The Evidence Presented at Trial

          On December 2, 2011, Agent Jackson had a meeting with Mr. Bryant at Club

   Dolce. The audio/visual equipment failed to record that meeting.

          On December 4, 2011, Agent Jackson had a follow up meeting with Mr. Bryant at

   Club Dolce. The December 4, 2011 meeting was audio/visually recorded.11 During this

   meeting Mr. Bryant reported that he had recruited police officers to provide assistance,

   stating: “I got four and they said that they could give whoever I need. They all county

   guys. Plus, I got two Beach guys.” Trial Transcript (DE# 145 at 17-18, 1/14/13).

          On December 9, 2011, Agent Jackson and Mr. Bryant met at Club Dolce. During

   this meeting, Mr. Bryant told Agent Jackson that he had two police officers who would

   provide security for the transportation of drugs. See Government’s Exhibit 53 at Tab C,

   Transcript of 12/9/11 Meeting at 5-6.12 Mr. Bryant stated that his “brother,” meaning Mr.

   McLendon, would be involved. Id. at 5-6, 10-11. Specifically, Mr. Bryant stated that Mr.

   McLendon was “gonna ride with me. He’s gonna be pickin’ up the bag, with me.” Id. at

   10. Mr. Bryant further stated that Mr. McLendon was “being sort of the escort guy for”

   Mr. Bryant because he and Mr. McLendon had “worked it out many times before and

   that[ was] the easiest way.” Id. at 11.


          11
            The video of the December 4, 2011 meeting was played at trial, but not at the
   evidentiary hearing. See Government’s Supplemental Memorandum (DE# 281 at 9,
   7/25/15); Trial Transcript (DE# 145 at 16-17, 1/14/13).
          12
             The defendants maintain that they believed they were transporting money, not
   drugs. During the December 9, 2011 meeting with Mr. Bryant, Agent Jackson referred
   to the drugs as “keys,” “kilos” and twice used the word “cocaine.” See Government’s
   Exhibit 53 at Tab C, Transcript of 12/9/11 Meeting at 7-8, 20, 21-22. Thus it is clear, at
   least with respect to Mr. Bryant, that Mr. Bryant knew he was being paid to transport
   drugs. The extent of Mr. McLendon and Mr. Mack’s knowledge of the drugs is
   discussed below.

                                               11
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 12 of 76




         During this meeting, Agent Jackson used the words “keys” and “kilos” to refer to

   the drugs being transported:

         [Agent Jackson]: Exactly, I wanted, that’s kind of why I wanted to meet
         your guys, and make sure every, cause we’ve done this before in Vegas,
         and we had some sh*t pop off because what we found out was, the guy
         we were payin’ wasn’t payin’ his guys properly. And then [SC]13

         [Henry Bryant]: Well see, that, we had already discussed, my guys had
         already discussed that part [SC]

         [Agent Jackson]: Well, what, what, how, what’s the going, what’s the going
         rate here? I mean, what are they, kind of, what are they, what, what kind
         of numbers are they throwin’ out to you, and we can kind of figure out
         what’s what. Cause right now it’s ten keys [PH], I mean that’s what’s
         gonna be moving.

         [Henry Bryant]: Okay.

         [Agent Jackson]: Just so you know. Uh, it’s ten kilo’s.

         [Henry Bryant]: Okay.

         [Agent Jackson]: Uh, that’s what’s gonna be movin.’

         [Henry Bryant]: Okay.

   Government’s Exhibit 53 at Tab C, Transcript of 12/9/11 Meeting at 7-8 (emphasis and

   footnote added). Agent Jackson also referred to the drugs as cocaine:

         [Agent Jackson]: Now, now, let me, right now we’re only dealing with ten
         keys [PH].

         [Henry Bryant]: Okay.

         [Agent Jackson]: So um, it’s not a incre-, incredible amount of cocaine, I
         mean so it ain’t a ton. Know what I mean?

         [Henry Bryant]: I understand, I understand.


         13
          The abbreviation “[SC]” stands for “Simultaneous Conversation.” See, e.g.,
   Government’s Exhibit 53 at Tab D, Transcript of 12/10/11 Phone Call.

                                             12
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 13 of 76




   Id. at 20. (emphasis added).

         In explaining why he was offering to pay the officers $3,500 each, Agent Jackson

   cited a downturn in cocaine prices:

         [Agent Jackson]: So, and, and the amount of money on cocaine prices
         isn’t what it used to be as far as you know, [SC]

         [Henry Bryant]: Yeah.

         [Agent Jackson] . . . making up the difference and all that, so. My guys
         gotta be . . you know what I’m sayin?’ Cause, I got to pay you, I got to pay
         the two runners, you know, before it’s over with, you know, we twelve,
         twelve out [of] the whole and we only makin’ cer- a certain amount of
         profit. You know what I mean? So, I’m not tryin,’ tryin,’ to short change you
         or anythin’ but I want you to, you to get taken’ and I want those two guys,
         you orchestrated the whole thing, you know what I mean?

         [Henry Bryant]: Right.

   Government’s Exhibit 53 at Tab C, Transcript of 12/9/11 Meeting at 21-22 (emphasis

   added). Mr. Bryant told Agent Jackson that his “brother” (Mr. McLendon) would receive

   half of what Mr. Bryant was paid and stated:

         because that’s why I told him, I said listen your takin’ just as much with
         your ass on the line as I am . . . And I said, you got just as much to lose
         as I do . . . I said, but you know, like I said, we’ve been in this thing
         together for, since we’ve been eight years old.

   Id. at 22. Agent Jackson offered Mr. Bryant $4,000 to split with Mr. McLendon. Id. at 23.

         On December 10, 2011, Agent Jackson called Mr. Bryant. See Government’s

   Exhibit 53 at Tab D, Transcript of 12/10/11 Phone Call at 2. During this phone call,

   Agent Jackson used the word “dope” and Mr. Bryant abruptly hung up on him.

         On December 15, 2011, Mr. Bryant met with Agent Jackson at Club Dolce and

   expressed concern that their conversations could be overheard by law enforcement:

         [Henry Bryant]: Okay. The reason why I’m asking you stupid questions
         because I’m trying to figure out okay most of the time when we have

                                              13
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 14 of 76




         conversation[s], you know, when when you’re in this type of field you don’t
         have straight out conversations.

         [Agent Jackson]: Mhm.

         [Henry Bryant]: The reason why that is is because everybody knows that
         you can be almost bugged anywhere and the problem with that is is that if
         you picked up, if you picked up a bug you know any little word that you
         say can be conscruted [sic] as conspiracy, can be conscruted [sic] as ok
         well this is one of the players with regard to major, minor whatever the
         case may be and then that’s when you pick up tails. You know.

         [Agent Jackson]: Mhm.

         [Henry Bryant]: That’s why you got a dial tone.

   Government’s Exhibit 53 at Tab E, Transcript of 12/15/11 Meeting at 3.

         Mr. Bryant explained that the reason he hung up on Agent Jackson was because

   of the word Agent Jackson had used:

         [Henry Bryant]: Well, well the, the word the word that you caused to trigger
         the hang up on was the Coca Cola word.

         [Agent Jackson]: Oh okay.

         [Henry Bryant]: And you said it outright and I’m like what the f**k?

         [Agent Jackson]: I said that, outright?

         [Henry Bryant]: Yeah and I was like what the f**k is he thinking?

         [Agent Jackson]: Cause usually I say t-shirts or

         [Henry Bryant]: No, you, no

         [Agent Jackson]: I said it, said it straight out?

         [Henry Bryant]: Straight out and that’s why you got the dial tone.

   Government’s Exhibit 53 at Tab E, Transcript of 12/15/11 Meeting at 4. During this

   exchange, Agent Jackson told Mr. Bryant that he usually used the word “t-shirts.” Id.

   Agent Jackson was the only person who testified at trial that the word “t-shirts” was a

                                                14
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 15 of 76




   code word for cocaine.

         Detective KayTee Tyson was brought into the investigation as an undercover

   agent.14 He played the role of a drug dealer from the Northeast who was the owner of

   the drugs that would be transported from Club Dolce. On December 21, 2011, Agent

   Jackson met Mr. Bryant at a restaurant in Miami Beach. During this meeting, Agent

   Jackson introduced Detective Tyson to Mr. Bryant.

         Later that day, Mr. Bryant arrived at Agent Jackson’s office in Club Dolce with

   Mr. McLendon. The purpose of this meeting was for Mr. Bryant and Mr. McLendon to

   pick up the sham cocaine which they would be delivering to a parked car in the

   Aventura Mall parking lot. During this meeting, Mr. McLendon expressed concern about

   using a route which would require them to pass through a SunPass tollbooth:

         [Mr. McLendon]: This right there is uh what you call that sh*t? Sunpass.

         [Agent Jackson]: Right.

         [Mr. McLendon]: Don’t want that.

         [Henry Bryant]: Cause it takes pictures.

         [Mr. McLendon]: So, the best way is Collins [Avenue].

   Government’s Exhibit 53 at Tab F, Transcript of 12/21/11 Meeting at 9.

         During this meeting, the following exchange took place:

         [Detective Tyson]: We need to make sure that all nine of these get there.

         [Henry Bryant]: Don’t worry about that. Do what you do.

         [Detective Tyson]: Yeah I know you[’re] saying don’t worry about that but I
         got to be worried about that.


         14
           Detective Tyson worked with Agent Jackson on a total of five cases and
   considers Agent Jackson a friend.

                                             15
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 16 of 76




          [Henry Bryant]: (SC) I understand but . . . you gonna be right behind me
          so don’t worry . . . about it . . .

          [Detective Tyson]: Cause this money see what am saying . . .

          [Henry Bryant]: I understand, I understand, I understand. (Pause) I have
          no problem with that . .

   Government’s Exhibit 53 at Tab G, Transcript of 12/21/11 Meeting at 10 (emphasis

   added). At trial Detective Tyson explained that when he stated “[w]e need to make sure

   that all nine of these get there,” he was talking about that nine kilograms of cocaine.

   See Trial Transcript (DE# 145 at 194, 1/14/13). He explained his “this money” comment

   as follows:

          What I'm implying that this is money, meaning that these nine kilograms of
          cocaine is worth a lot of money to me. So I need to make sure that when
          I'm giving them to you, that they need to get there. No ifs, ands, or buts
          about it. If you're telling me that you can do it, you need to be able to go
          through with it.

   Id. Detective Tyson testified that nine kilograms of cocaine was worth approximately

   $300,000. Id.

          Detective Tyson proceeded to mark the nine “bricks”15 of sham cocaine with a


         15
           At trial, Detective Tyson testified that this was the manner in which cocaine
   was packaged:

          Q. When, if ever, have you seen money packaged in this manner?

          A. You would never see money packaged in that manner.

          Q. Why?

          A. For one, it's money. When you're delivering money to anyone, people
          want to make sure that what they're getting there is money. So if I'm
          delivering you some money, I'm not wrapping it up, covering and
          concealing it, because whoever I'm giving it to, the first thing they're going
          to say is, is this really what --


                                                16
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 17 of 76




   marker and handed each one to Agent Jackson to place in a duffel bag resting on top

   of a desk.16 This handoff took place in Mr. Bryant and Mr. McLendon’s presence. See


                                                 ***

         THE WITNESS: You really want to count what you're getting. You just
         don't want someone to hand you something wrapped up in a shape of
         cocaine or the shape of something that you don't know what it is.

         So because if you give that to them, then what's to say that what's in that
         package is actually money?

                                                 ***

         Q. I'm showing you a part of Government's Exhibit Number 19.
         When, if ever, have you seen money packaged that like?

         A. Never.

         Q. What is packaged like that in your training and experience?

         A. Cocaine and heroin.

         Q. What does that represent?

         A. A kilogram.

         Q. Why is it packaged in kilograms?

         A. When you're doing a large amount, typically the person is trying to
         make as much money off of it as they can. So the average drug dealer,
         the first thing they try to do is try to make it to a kilo. If they can make it to
         a kilo, they know that they can take that money and flip it and make
         another or buy other kilos off of it.

         So in order -- it wouldn't be worth my time to come all the way down here
         to Miami to be moving anything less than a kilo.

   Trial Transcript (DE# 145 at 201-203, 1/14/13). Detective Tyson also testified that
   based on his experience, you would not leave large sums of money in a parked car in a
   mall parking lot in the drug business. Id. at 203-204.
         16
              At trial, Detective Tyson explained why he marked the bricks:


                                                 17
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 18 of 76




   Government’s Exhibit 9 at Clip 2 (Video Clip).

         Detective Tyson told Mr. Bryant and Mr. McLendon that the bricks needed to

   arrive at their destination exactly as they were packaged: “How they how they are now, I

   need to get a phone call later that’s how they need to be when they pick em up.”

   Government’s Exhibit 53 at Tab G, Transcript of 12/21/11 Meeting at 11. Mr. Bryant and

   Mr. McLendon then moved towards the desk where the duffel bag was resting so they

   could get a closer look at the bricks inside the duffel bag. Mr. McLendon stated, “Come

   in here for a second, I want you all to see how they is so I know exactly. We were here,

   we’re here to do our job that’s it.” Government’s Exhibit 53 at Tab G, Transcript of

   12/21/11 Meeting at 11; Government’s Exhibit 9 at Clip 2, (Video Clip).

         Detective Tyson again emphasized to Mr. Bryant and Mr. McLendon that he

   wanted the bricks to arrive exactly as they were packaged:

         [Detective Tyson]: So how they are now that’s how they got to be.

         [Octavius McLendon]: That’s how they will be[.]

         [Detective Tyson]: No deviation, no taste, neither one of y’all get high
         right?

         [Octavius McLendon]: Pstt.

         [Detective Tyson]: Alright just saying you, I gotta ask that question.

   Government’s Exhibit 53 at Tab G, Transcript of 12/21/11 Meeting at 11 (emphasis


         With the marker what I was trying to do with the kilos were put initials on
         them, just to imply that, look, I'm putting this mark on them, putting this
         mark on them, so when they get to where they're going to, that's how they
         better arrive. So if this marker is gone off of there, then I know that
         something happened to the kilos because that's not how I gave them to
         you.

   Trial Transcript (DE# 145 at 194, 1/14/13).

                                                 18
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 19 of 76




   added). Agent Jackson then handed the duffel bag to Mr. Bryant. See Government’s

   Exhibit 9 at Clip 2, (Video Clip). Mr. Bryant and Mr. McLendon left Agent Jackson’s

   office with the duffel bag.

            At trial Detective Tyson explained why he asked Mr. Bryant and Mr. McLendon if

   either of them “get high:”

            That question was for, to make sure that -- I didn't want a person that gets
            high to transport my drugs for me, because at that point they could decide
            to go in, take some more, test it for themselves to see what it was, if it was
            good, if it wasn't.

            So I wanted to make sure that, look, I'm telling you already not to go into
            them. So I'm making sure now, you don't get high, so it won't be no
            discrepancy with or any problems with getting to the point they need to get to.

   Trial Transcript (DE# 145 at 196, 1/14/13). Detective Tyson testified that Mr. Bryant and

   Mr. McLendon “were like insulted” by that question. Id.

            At approximately 7:38 PM on December 21, 2011, Mr. Bryant and Mr. McLendon

   returned to Agent Jackson’s office at Club Dolce. See Government’s Exhibit 9 at Clip 3,

   (Video Clip). Detective Tyson tossed to Mr. Bryant bundles of cash totaling $10,500. Id.;

   see also Trial Testimony (DE# 145 at 198, 1/14/13). Mr. Bryant and Mr. Tyson counted

   the money in Agent Jackson’s office. See Government’s Exhibit 9 at Clip 3, (Video

   Clip).

            The police car that assisted Mr. Bryant and Mr. McLendon in making the

   December 21, 2011 delivery was assigned vehicle number 1929A. This was the same

   vehicle number that was assigned to Mr. Mack’s police car. See Government’s Exhibit

   33, Trial Transcript (DE# 145 at 184, 1/14/13). Mr. Bryant and Mr. Mack exchanged text

   messages and met up on December 21, 2011. See Government’s Exhibit 35d, Metro



                                                 19
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 20 of 76




   PCS Subscriber Information.17

         On the morning of January 14, 2012, Agent Jackson, Detective Tyson and Mr.

   Bryant were outside a restaurant. This was the first time that Agent Jackson and

   Detective Tyson would be meeting Mr. Mack. While they were waiting for Mr. Mack to

   arrive, the following exchange took place between Agent Jackson and Mr. Bryant:

         [Agent Jackson]: So, what’s the, what’s the story? So we can get this thing
         moving?

         [Henry Bryant]: Well, I’m ready to go. He’ll be here in two minutes.

         [Agent Jackson]: Alright, so what you was talking about? Cause we can
         talk now, you know. On the phone you was saying something about.

         [Henry Bryant]: What, what I’m saying is, is that, he knows exactly
         what we’re doing. So, so there’s no secrets to him.

         [Agent Jackson]: Okay.

         [Henry Bryant]: You know, the only thing about it is, is that, his thing
         of it is that, the, the less he knows, the better off he is.

         [Agent Jackson]: Right, right, right.

   Government’s Exhibit 53 at Tab I, Transcript of 1/14/12 Meeting at 5 (emphasis added).

   Agent Jackson expressed concern about whether Mr. Mack knew what was going on

   and Mr. Bryant assured Agent Jackson that Mr. Mack was aware:

         [Henry Bryant]: So, he’s only a minute away, oh I was gonna say, what the
         f*ck I do with my phone.

         [Agent Jackson]: Yeah cause you had me a little worried when you was,
         like . . .

         [Henry Bryant]: No, no, no, no. But, . . .

         17
             The jury did not find Mr. Mack guilty of attempting to possess with intent to
   distribute cocaine with respect to the December 21, 2011 delivery. See Verdict (DE# 86
   at 2, 10/11/12).

                                                 20
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 21 of 76




         [Agent Jackson]: . . . you was like, . . .

         [Henry Bryant]: . . . I’m not gonna sit there and talk in front of LEOs

         [Agent Jackson]: you know no, no, no. You was like, he do, but he don’t
         know. That’s all I was . . .

         [Henry Bryant]: No, no, no, no, he, he knows about it.

         [Agent Jackson]: Oh.

         [Henry Bryant]: But, like I said, the less . . .

   Government’s Exhibit 53 at Tab I, Transcript of 1/14/12 Meeting at 7-8 (emphasis

   added).

         Mr. Mack arrived in his police car (vehicle number 1929A). He wore his full police

   uniform but no name tag. See Trial Transcript (DE# 145 at 206, 1/14/13). Mr. Bryant

   introduced Mr. Mack using the pseudonym “James.” Id. Mr. Mack was wearing his

   sidearm. Id.

         The restaurant was crowded that morning and so they moved their meeting to

   another restaurant. See Trial Transcript (DE# 145 at 207, 1/14/13). Detective Tyson

   and Mr. Bryant rode together to the second restaurant. Id. at 207-208. During the car

   ride, Mr. Bryant expressed concern to Detective Tyson about the December 10, 2011

   phone call when Agent Jackson used the word “dope.” Government’s Exhibit 53 at Tab

   J, Transcript of 1/14/12 Meeting at 9-10. Mr. Bryant also relayed to Detective Tyson his

   past experience: “Well, what, what I’m saying is, these guys, these guys used to move,

   we talkin’ about kiloton . . . . You know what I’m saying? And, I’ve been doing this since

   I’ve been a f*cking shorty.” Id. at 10 (emphasis added). Detective Tyson explained to

   the jury that Mr. Bryant meant, he’d moved a lot of cocaine and that he’d been doing



                                                 21
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 22 of 76




   this for a long time. See Trial Transcript (DE# 145 at 214, 1/14/13). During the car ride,

   Mr. Bryant also relayed to Detective Tyson, Mr. McLendon’s role:

          You understand what I’m saying? And that’s the reason why he’s so
          important. The other part of that is, the reason why he’s so important is, is
          because we’re carrying, we’re carrying not only weight, we’re carrying
          weapons as well. . . . And I don’t make that no secret. I tell ’em
          everywhere I go, just like my, my guys carry weapons. I got my weapons on me.”

   Government’s Exhibit 53 at Tab J, Transcript of 1/14/12 Meeting at 12. Mr. Bryant also

   gave assurances to Detective Tyson that Mr. Mack knew what was going on:

          [Detective Tyson]: Well, like I said, let's just you saying everybody
          knows, everybody knows because, you know, I can't take that risk
          that you say…

          [Henry Bryant]: I understand. I understand.

          [Detective Tyson]: If this dude know but he don't know that he get
          there and like well, yo, I ain't down for that. And, then, he rolls out,
          then we jammed. I ain't…

          [Henry Bryant]: No, no.

          [Detective Tyson]: … I can't deal with you no more if that was that.

          [Henry Bryant]: Right. No. That's not, ha, but that's why I brought my
          guys to meet you.

          [Detective Tyson]: Okay. Alright.

          [Henry Bryant]: You understand what I'm saying? 'Cause normally,
          my guys don't show faces at all. None of them.

          [Detective Tyson]: Right, right.

          [Henry Bryant]: And this guy here has more to lose than anybody
          else, 'cause he's a sergeant.18



          18
          Mr. Mack states that he was not a sergeant. See Mack’s Supplemental Reply
   (DE# 289 at 17 n.5, 9/6/16).

                                               22
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 23 of 76




         [Detective Tyson]: Okay.

         [Henry Bryant]: You understand? 'Cause he's got his guys up underneath
         him. That's why I brought him, instead of the little guy. Because
         whatever I say to him, goes, period.

         [Detective Tyson]: Right.

         [Henry Bryant]: And he makes it happen. Just like last time he made it
         happen.

         [Detective Tyson]: Okay.

         [Henry Bryant]: But, I, I said that, you know,

         [Detective Tyson]: And that's, that's, you know, I mean, that's, the part of
         cause that's for you to work out.

         [Henry Bryant]: Right.

         [Detective Tyson]: I just wanted make sure that they know.

         [Henry Bryant]: They do know. And, like I said…

         [Detective Tyson]: That's what I'm saying.

         [Henry Bryant]: … that's the reason why I'm telling you that they know
         and then you can talk to them to make sure he knows. 'Cause I don't
         have a problem with that.

         [Detective Tyson]: Alright, well tell …

         [Henry Bryant]: But, but, I wanted to make,

         [Detective Tyson]: On my own, they need to know exactly what it is
         because if you, if you got somebody that's coming that don't know
         and at the end, and at the end of the day, the Friday like I ain't come, I
         can't do. Everything is done. Now I'm, now I'm jammed up because
         now I'm looking at you sideways.

         [Henry Bryant]: Right.

         [Detective Tyson]: Because, oh, we bring somebody don't know.

         [Henry Bryant]: Right.

                                               23
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 24 of 76




          [Detective Tyson]: It's all supposed to be worked out. I can't risk
          somebody not knowing and trying to show up then turn around and
          say, no, I can't do it. Then, now, they know who I am.

          [Henry Bryant]: Right. Well, that's …

          [Detective Tyson]: I can't, I can't have them know who I am.

          [Henry Bryant]: … that was …

          [Detective Tyson]: That was the whole, that was the whole thing where I
          like, yo,

          [Henry Bryant]: …that was…

          [Detective Tyson]: … I told him, say, yo, I need to know who these
          people are to make sure they on board for real.

   Id. at 16-17 (emphasis and footnote added).

          Agent Jackson, Detective Tyson, Mr. Bryant and Mr. Mack sat at a table at the

   second restaurant. At trial, Detective Tyson described the purpose of the meeting as

   follows:

          Q. Now, what was the purpose of this meeting?

          A. The purpose of this meeting was for Henry [Bryant] to introduce other
          members of his team, specifically law enforcement that will be escorting
          the drugs from our club to the drop car.

          Q. Why is it important for the drug dealers to meet the law
          enforcement?

          A. Well, for us in this situation, in this role, it was important for me to
          meet him, well, because once I know that this guy knows exactly
          what he's doing, so if we get caught, he's just in trouble as we are,
          but we needed that law enforcement's presence, so that if we would get
          pulled over or the car was to get pulled over, that they could intervene.
          You know, say they are doing something or they're doing some kind of
          investigation just to throw the regular cops off from stopping our vehicle.

          Q. And so based on your experience, when, if ever, would someone who's


                                               24
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 25 of 76




         transporting cocaine on behalf of someone else invite a cop to a meeting
         with the people he's transporting cocaine for?

         A. Never, really.

         Q. What would it indicate to you?

         A. That this cop, he's dirty.

   Trial Transcript (DE# 145 at 209, 1/14/13) (emphasis added).

         During this meeting, Detective Tyson reiterated the importance of everyone

   having the same knowledge of the transaction:

         [Agent Jackson]: Yeah, so we appreciate you getting with us.

         [Daniel Mack]: Not a problem.

         [Agent Jackson]: You know, what I'm saying, with things like they are
         you know, we gotta make sure, everybody good you know what I
         mean. So, you don't want you don't want no mistakes when you
         know things like this in order you know what I mean? Everybody
         gotta be move as one, you know what I mean.

         [Daniel Mack]: That's true.

         [Agent Jackson]: So, that's one of the main thing, we just wanted…

         [Detective Tyson]: The thing, the thing is, that's my, that's my man that's
         my man of my man, alright? Can't have them go down without me, cause
         I'm the overseer. I'm a use the (UI) make sure the thing is straight. The
         reason why I was stressing you know cause we gotta to make sure
         everybody is on the same, on the same point, on the same tuning.
         Because, if somebody get there and all of sudden decide to change
         their mind, I'm f*cked. Ain't nothing going down. I ain't dealing with Yo,
         I'm cutting everybody off.

         [Daniel Mack]: Right.

         [Detective Tyson]: 'Cause I can't risk that I'm coming down here, this
         suppose to be set up and everybody on point till somebody get there
         and they feeling a little shaky, like, well, I don't wanna do this now,
         whatever. Well, then, they say, they gonna roll out, they roll out, I'm done
         and that's it. I can't deal with Yo, I ain't, I can't have him call (UI). I can't

                                                25
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 26 of 76




         have him contact you no more because now, they know who I am. If we
         know all we all know each other. If that person decides to go somewhere
         else, that's like, yo, he, he plan on robbing me. He plan on taking
         something from me.

         [Daniel Mack]: You right.

         [Detective Tyson]: So, I can't get down like that. So, if you got somebody
         that ain't, that ain't gonna keep it hundred trying to roll the honey with, ain't
         nobody, ain't nothing going down. It ain't doing nothing. Ain't nothing ain't
         nobody making no moves. Ain't nobody making no money. It ain't nothin'
         happenin'. That's, that's just the bottom line. I, I, no, I ain't try to come off
         as more hard but, I got business I gotta do. You know what I mean?

         [Daniel Mack]: I don't think it's hard, I think is firm. So, I'm not worried
         about that.

         [Agent Jackson]: Yeah.

         [Detective Tyson]: So that's, that's, that's the bottom line. If, if somebody
         ain't right, ain't nothing going down. Walk away nice to meet y'all. If y'all
         see me come through, don't give me no ticket.

         (Laughter)

         [Detective Tyson]: That's it, that's it, you know, no hard…

         [Daniel Mack]: You got my one spot and you ain't gonna be riding in it.

         (Laughter)

         [Detective Tyson]: No, ain't no hard feelings.

   Government’s Exhibit 53 at Tab K, Transcript of 1/14/12 Meeting at 23-24 (emphasis

   added).

         Detective Tyson and Mr. Mack also discussed police officers in Miami being laid

   off. See Government’s Exhibit 53 at Tab K, Transcript of 1/14/12 Meeting at 37-39. Mr.

   Mack told Detective Tyson and Agent Jackson that the police department was “slated to

   lose a hundred and fifty-four people at the end of the month” and that they were already

   down 600. Id. at 39. Detective Tyson stated, “[w]e ready to get rich,” in response to the

                                                26
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 27 of 76




   news that there were a significant number of police layoffs. Id. at 39. Detective further

   stated, “Nobody down here be working. We can, be here all the time.” Id. Agent

   Jackson stated “It’s gonna be wide open.” Id.

          At trial, Detective Tyson explained his remarks as “[m]eaning that I was going

   back home to tell my boss that, look, all the drugs, whatever we need to move through

   here, we good to go. Police getting laid off down here.” Trial Transcript (DE# 145 at

   220, 1/14/13).

          Detective Jackson walked out of the restaurant with Mr. Mack and the following

   conversation took place:

          [Agent Jackson]: You know what I’m saying, trying to make it work and
          you know, if you don’t like the way something going or you know, let us
          know cause this new territory for us you know.

          [Daniel Mack]: Okay.

          [Agent Jackson]: So, you know, we got this many, this many t-shirts
          coming through you know what I mean, we just want to make sure
          everything is right you know what I mean.

          [Daniel Mack]: I don’t hate, so that’s why I respect and understand
          everything that he mentioned.

          [Agent Jackson]: Right, cause ain’t nobody trying to get locked up you
          know what I mean, you hear me.

          [Daniel Mack]: You know how they do us.

          [Agent Jackson]: . . . You hear me[.]

          [Daniel Mack]: . . . They do (UI)

          [Agent Jackson]: Hey, hey, hey, it ain’t gonna be no question, you know
          what I mean, they gonna do us bad, you know what I mean, like “you got
          how many on you?”

          [Daniel Mack]: You right. Be safe to you man.


                                                  27
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 28 of 76




   Government’s Exhibit 53 at Tab L, Transcript of 1/14/12 Meeting at 61 (emphasis

   added).19

          In the afternoon of January 14, 2012, Mr. Bryant and Mr. McLendon arrived at

   Agent Jackson’s office in Club Dolce. See Government’s Exhibit 13 at Clip 1 (Video

   Clip). Agent Jackson placed a duffel bag on his desk and proceeded to fill the duffel

   bag with ten “bricks” of sham cocaine in Mr. Bryant and Mr. McLendon’s presence. Mr.

   McLendon counted the bricks and commented that he “appreciated the smaller [bag]

   size” because it had “[b]etter maneuverability, less attention getter too.” Government’s

   Exhibit 53 at Tab L, Transcript of 1/14/12 Meeting at 3. Agent Jackson handed the

   duffel bag containing the sham cocaine to Mr. McLendon. Mr. Bryant and Mr.

   McLendon confirmed their plans with Detective Tyson and Agent Jackson concerning

   where to deliver the duffel bag. See Government’s Exhibit 13 at Clip 1 (Video Clip). Mr.

   Bryant and Mr. McLendon then left Agent Jackson’s office. Id.

          Surveillance photographs taken on January 14, 2012 show a marked police

   vehicle with the number 1929A painted on it (Mr. Mack’s police vehicle) following Mr.

          19
            As previously noted, Agent Jackson was the only witness at trial who testified
   that the word “t-shirts” was commonly understood to mean cocaine:

          Q. And you also say, “This many, this many T-shirts coming through.”
          What are you talking about there?

          A. The cocaine. I was very specific with the term I used just because of
          the previous event that happened with Henry Bryant, and I worked drugs
          in Atlanta. That's what I do. I'm an agent on the drug squad. And T-shirts
          is a very common drug term used in Atlanta for drugs. So that's the
          terminology I knew to use.

   Trial Transcript (DE# 145 at 93, 1/14/13) (emphasis added). During cross-examination,
   Agent Jackson clarified that the code word “t-shirts” was used “[n]ot just Atlanta . . . but
   everywhere.” Id. at 115.

                                                28
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 29 of 76




   Bryant and Mr. McLendon’s car. See Government’s Exhibit 39a-d. The duffel bag was

   delivered to a parked car in a parking lot on January 14, 2012. See Government’s

   Exhibit 20a-d. Mr. Bryant and Mr. McLendon then returned to Club Dolce to collect a

   cash payment for the delivery of the sham cocaine. See Government’s Exhibit 13 at

   Clips 2 and 3 (Video Clips).

   C.     The DOJ-OIG’s Investigation of Agent Jackson

          In April 2013, the Department of Justice Office of Inspector General (“DOJ-OIG”)

   began its investigation of Agent Jackson.20 As part of its investigation, DOJ-OIG

   obtained documents and interviewed witnesses. The focus of the DOJ-OIG

   investigation was Agent Jackson’s improper relationship with former FBI registered

   source Mani Chulpayev. The relevant time frame of the investigation was from January

   2012 through April 2013.21

          Mr. Chulpayev was a Russian mobster based in New York. In the late 1990s, he

   was arrested for crimes he committed in New York. Mr. Chulpayev was convicted and

   sentenced to a term of imprisonment. He cooperated with the government and, for a

   time, was an FBI source.

          In the mid-2000s, while serving as an FBI source, Mr. Chulpayev was involved

   in vehicle-related crimes, including stolen vehicles, vehicle identification number (“VIN”)

   fraud and subleasing. He was convicted and served a term of imprisonment.


          20
             The investigation was first assigned to Agent Phil Van Nimwegen, an agent in
   Atlanta. In November 2013, Agent Susan Howell took over the investigation.
          21
            At the evidentiary hearing, Agent Howell explained that DOJ-OIG’s
   investigation into Agent Jackson’s misconduct was limited to these dates because
   Agent Jackson received items of value from Mr. Chulpayev in May 2012 and Mr.
   Chulpayev was incarcerated in 2013.

                                               29
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 30 of 76




          In January 2010, Mr. Chulpayev became a registered source for the FBI in

   Atlanta. He remained a registered source until February 3, 2011.22 During this time,

   Agent Jackson became Mr. Chulpayev’s handler.

          Mr. Chulpayev owned a luxury car rental business. Agent Jackson learned that,

   from time to time, Mr. Chulpayev would get in trouble with the local police because

   someone was either stopped in one of Mr. Chulpayev’s cars or there was an issue

   related to the car’s registration or VIN number.

          1.     Agent Jackson’s Investigation of Decensae White and Gary Bradford

          In 2012, Agent Jackson was the case agent in an undercover narcotics

   investigation targeting suspected drug traffickers Decensae White and Gary Bradford.

   Mr. Chulpayev was assisting Agent Jackson with the undercover investigation. Mr.

   White was an associate of Mr. Chulpayev and had invested approximately $150,000 to

   $160,000 into Mr. Chulpayev’s business.

          The narcotics investigation originated out of Atlanta, but a meeting with Mr.

   White and Mr. Bradford was scheduled for Memorial Day weekend in Miami. Prior to

   traveling to Miami, Agent Jackson had prepared a memorandum to the FBI field office

   in Miami advising that he would be traveling to Miami. The memorandum stated that

   there would be an undercover agent involved in the investigation. It also stated that

   there was a source or a confidential source who would be making introductions. The

   memorandum did not identify the source by name. By that time, Mr. Chulpayev had not

   been a registered source for the FBI in over a year.



         22
            Mr. Chulpayev was terminated as a registered source because he left the
   Atlanta area.

                                               30
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 31 of 76




          Detective KayTee Tyson was the undercover agent who participated in the

   investigation. Detective Tyson was playing the undercover role of a drug dealer.

   Detective Tyson flew to Miami to attend the Memorial Day weekend meeting. Mr.

   Chulpayev introduced Detective Tyson to Mr. White and Mr. Bradford at the meeting.

   Agent Jackson told Detective Tyson that Mr. Chulpayev was a source.

          Agent Jackson provided Detective Tyson with a convertible BMW 6 Series23 to

   use during his stay in Miami. Detective Tyson did not ask Agent Jackson where he got

   the car. It was not unusual for the FBI to provide high-end cars for Detective Tyson to

   use during an investigation. Detective Tyson later learned that this car had been

   provided by Mr. Chulpayev. Mr. Chulpayev had also provided Agent Jackson with a

   second convertible BMW 6 Series for Agent Jackson to use for that weekend. Agent

   Jackson was the case agent and had no need for a luxury automobile to support his

   role in the case. There is no evidence that Mr. Chulpayev was reimbursed by anyone

   for the use of those vehicles.

          In addition to use of a convertible BMW 6 Series, Agent Jackson provided

   Detective Tyson with $1,500 in cash. Detective Tyson did not ask Agent Jackson where

   he got this money. It is not unusual for the FBI to provide undercover agents with cash

   to use during an investigation. During the DOJ-OIG investigation, Detective Tyson

   learned that the money came from Mr. Chulpayev. At some point, Agent Jackson

   sought reimbursement of the $1,500 from the FBI. Agent Jackson paid back that money

   to Mr. Chulpayev.

          Under FBI policy, it is improper for an FBI agent to obtain use of vehicles and


          23
               Agent Howell testified that the vehicle may have been a Mercedes.

                                                31
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 32 of 76




   money from a source. Detective Tyson was required to file an FBI-302 report in

   connection with his trip to Miami. He did not file the FBI-302 report until November 7,

   2012, approximately five months later.

          2.     Agent Jackson’s Involvement in the Vernell Murder Investigation

          In April 2012, Melvin Vernell, an Atlanta-based rapper, was arrested for driving a

   stolen vehicle. Mr. Vernell had leased that vehicle from Mr. Chulpayev. Mr. Vernell

   intended to fight the charge and raise the defense that the vehicle was not stolen, it was

   leased from Mr. Chulpayev. Mr. Vernell’s attorney, who was also Mr. Chulpayev’s

   attorney, tried to present a copy of the lease agreement in court. The prosecutor

   wanted the attorney to produce the original lease agreement. Mr. Vernell’s attorney

   called Mr. Chulpayev and Mr. Chulpayev was upset about being contacted by

   telephone in open court.

          In June 2012, Mr. Chulpayev hosted a party in Miami to celebrate his birthday.

   He invited Decensae White. During the party, Mr. White confided in Mr. Chulpayev that

   he believed Mr. Vernell had stolen marijuana from Mr. White. Mr. White was upset with

   Mr. Vernell over the theft and wanted to know if Mr. Vernell was using one of Mr.

   Chulpayev’s vehicles. Mr. White knew that Mr. Chulpayev’s vehicles were equipped

   with GPS trackers. Mr. White wanted to locate Mr. Vernell. At some point, Mr.

   Chulpayev gave Mr. White either the password to the GPS login or the GPS

   coordinates for the vehicle driven by Mr. Vernell.24


          24
            The record is inconsistent concerning whether Mr. Chulpayev provided to Mr.
   White the GPS password, the GPS coordinates to the hotel where Mr. Vernell was
   staying or the GPS coordinates to the hospital or hospital parking garage where Mr.
   Vernell was murdered. These factual discrepancies are not material for purposes of
   ruling on the instant motions.

                                               32
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 33 of 76




          On June 7, 2012, Mr. Vernell was murdered in a hospital parking garage in

   Sandy Springs, Georgia. Mr. Vernell was murdered in a vehicle leased from Mr.

   Chulpayev. At the time of his murder, Mr. Vernell’s criminal case for driving a stolen

   vehicle was still open.

          Mr. Chulpayev and Agent Jackson spoke on the telephone and exchanged text

   messages “a lot . . . before the murder [and] after the murder.” Transcript (DE# 257 at

   306, 6/7/16). Mr. Chulpayev told Agent Jackson that the Sandy Springs police were

   trying to interview him about Mr. Vernell’s murder.25 Mr. Chulpayev also told Agent

   Jackson that Mr. Chulpayev believed Mr. White was involved in the murder.

          On June 11, 2012, Agent Jackson contacted the Sandy Springs Police

   Department and spoke with Detective J.T. Williams. Agent Jackson told Detective

   Williams that Agent Jackson had a source with information about who was involved in

   the murder. Agent Jackson also told Detective Williams that the source was Agent

   Jackson’s source and that the source was more comfortable speaking with Agent

   Jackson because the source had had issues with local law enforcement in the past.

   Agent Jackson told Detective Williams that he was going to help the Sandy Springs

   Police Department, but he was not going to provide them with direct access to this

   source. Agent Jackson also told Detective Williams that there was a narcotics

   component to Mr. Vernell’s murder and suggested that the murder investigation of Mr.


          25
            Agent Howell later testified that it was Mr. Chulpayev who was trying to contact
   the Sandy Springs Police Department because Mr. Vernell was murdered in one of Mr.
   Chulpayev’s vehicles. See Transcript (DE# 257 at 311, 6/7/16). The order on the
   motion to suppress filed by Mr. Chulpayev in the state court proceeding states that Mr.
   Chulpayev contacted the Sandy Springs Police Department shortly after learning of the
   murder, identified himself and attempted to provide information pertinent to the vehicle
   and the investigation. See Government’s Exhibit 63 at 2.

                                               33
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 34 of 76




   Vernell could possibly be turned into a federal investigation.

          Agent Jackson notified his supervisors of Mr. Vernell’s murder and met with the

   United States Attorney’s Office in Atlanta. Agent Jackson told them that he would be

   investigating Mr. Vernell’s murder, meaning the FBI was going to try to tie Mr. Vernell’s

   murder in with the narcotics investigation. As part of its investigation into Mr. Vernell’s

   murder, the FBI interviewed a witness in Alabama, obtained pen registers and tried to

   obtain a phone tap.

          On July 30, 2012, Agent Jackson interviewed Mr. Chulpayev with an FBI task

   force officer present.26 During the interview Mr. Chulpayev told Agent Jackson that he

   did not provide the GPS coordinates to the hospital parking garage where Mr. Vernell

   was murdered. Rather, Mr. Chulpayev provided the password for the GPS tracker and

   the password was used to trace Mr. Vernell to the hotel where he was staying.

          In October 2012, Agent Jackson met with detectives at the Sandy Springs Police

   Department to discuss the murder investigation. Agent Jackson revealed to the Sandy

   Springs detectives for the first time that he had interviewed Mr. Chulpayev in July 2012.

   The detectives became upset with Agent Jackson for not disclosing this information.

   During this meeting, Agent Jackson also revealed that Mr. Chulpayev had provided the

   GPS coordinates to the hospital where Mr. Vernell was murdered. The Sandy Springs

   police detectives responded that if that was what Mr. Chulpayev had done, then Mr.

   Chulpayev was a co-conspirator to the murder. Agent Jackson then retracted his



          26
             Agent Howell later testified that a third person, an FBI agent, was present in
   the room during Mr. Chulpayev’s interview. See Transcript (DE# 257 at 319, 6/7/16).
   She also agreed with the government that all three officers – Agent Jackson, the task
   for officer and the FBI agent – interviewed Mr. Chulpayev. Id.

                                                34
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 35 of 76




   statement and said that what he meant was that Mr. Chulpayev had provided the GPS

   coordinates to the hotel where Mr. Vernell was staying.

          On October 24, 2012, Agent Jackson allowed the Sandy Springs detectives to

   interview Mr. Chulpayev. Agent Jackson did not participate in that interview, but

   required the Sandy Springs Police Department to interview Mr. Chulpayev at the FBI

   office in Atlanta.27

          On January 25, 2013, Agent Jackson called Detective Williams of the Sandy

   Springs Police Department and told Detective Williams he had to tell him something,

   but he wanted to keep it between them. Agent Jackson then disclosed to Detective

   Williams that Mr. Chulpayev was not an FBI source and had not been an FBI source for

   some time. As soon as the call ended, Detective Williams reported this information to

   his chain-of-command and it was ultimately reported to the FBI in Atlanta.

          At some point, Mr. White, Mr. Bradford and two other individuals were arrested

   for the murder of Mr. Vernell. Mr. Chulpayev was also arrested and charged with

   various crimes arising from Mr. Vernell’s murder. Mr. Chulpayev sought to suppress

   statements he provided to Agent Jackson and law enforcement officers. See

   Government’s Exhibit 63. The court held a hearing on Mr. Chulpayev’s motion to

   suppress. Id. at 5. Agent Jackson was called to testify at the suppression hearing. Id.

   Agent Jackson invoked his Fifth Amendment rights and did not provide testimony. Id.

   The court suppressed Mr. Chulpayev’s statements made during the July 2012 interview

   with Agent Jackson and the October 2012 interview with the Sandy Springs detectives.


          27
            The order on the motion to suppress filed in Mr. Chulpayev’s criminal case
   states that Agent Jackson entered the room towards the end of the interview. See
   Government’s Exhibit 63 at 7 n.7.

                                              35
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 36 of 76




   Id. at 9-10. The court “conclud[ed] that Agent Jackson’s involvement in procuring . . .

   [the] interview[s] significantly taint[ed] said interviews.” Id.

          3.      Agent Jackson’s Interactions with Amanda Smith’s Attorney

           Mr. Chulpayev had used Amanda Smith as a straw buyer to purchase vehicles

   for his business. Ms. Smith would purchase luxury vehicles and allow Mr. Chulpayev to

   sublease them. Under their agreement, Mr. Chulpayev would make the loan payments

   on the vehicles. When Mr. Chulpayev stopped paying loans, Ms. Smith hired an

   attorney.

          In the summer of 2012, Agent Jackson called Ms. Smith’s attorney on behalf of

   Mr. Chulpayev. Agent Jackson acted as an intermediary between the attorney and Mr.

   Chulpayev. Ms. Smith’s attorney told Agent Jackson that Mr. Chulpayev’s fraud had to

   be reported and that if Agent Jackson did not report the fraud, the attorney would report

   it to internal affairs. Agent Jackson told the attorney that he could have the attorney

   arrested for extorting a federal agent.

          Under FBI policy, it is improper for an agent to contact someone on behalf of a

   source. It is also improper to threaten someone with arrest for seeking to make a report

   to internal affairs. Agent Howell testified that she believes Ms. Smith's attorney filed a

   civil suit against the FBI based on what occurred in the summer of 2012.




                                                  36
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 37 of 76



         4.     Items of Value Provided to Agent Jackson by Mr. Chulpayev28

         For purposes of the instant motion, the government does not dispute that Mr.

   Chulpayev provided Agent Jackson with the following items of value which were

   unrelated to Agent Jackson’s undercover work: (1) tickets to Miami Heat games on four

   occasions (May 28, 2012, June 17, 2012, December 1, 2012 and February 10, 2013);

   (2) a room at the Fontainebleau Hilton Hotel in Miami Beach from February 16-18,

   2013; (3) use of an Audi A8 from February 16-18, 2013 and (4) a $3,500 cash payment

   made by Mr. Chulpayev on or about January 12, 2013 to the account for Agent

   Jackson’s undercover credit card.29 See Government’s Exhibit 58a.

         The government also does not dispute that Mr. Chulpayev provided Agent

   Jackson with the following items of value which were related to Agent Jackson’s




         28
              The parties dispute the relevant time frame of Agent Jackson’s misconduct.
   The government argues that “[t]he trial of this case concluded on October 10, 2012,
   making relevant any misconduct by Jackson that was not disclosed prior to the end of
   trial.” Government’s Supplemental Memorandum (DE# 281 at 3, 7/25/15). Mr. Mack
   maintains that December 19, 2012 is the relevant cutoff date because that was the date
   the trial court stated it was denying Mr. Mack’s renewed motion for severance. See
   Mack’s Supplemental Memorandum (DE# 272 at 2 n.2, 6/30/15); Mack’s Supplemental
   Reply (DE# 289 at 6 n.2, 9/6/16) (stating that “because the government has a
   continuing Brady obligation, Mr. Mack maintains all those gifts and benefits improperly
   accepted [by Agent Jackson] prior to the date of sentencing – when the district court
   ruled on the last pending motion for new trial – are relevant to the instant motion.”). In
   any event, the undersigned finds that Agent Jackson was engaged in misconduct while
   the instant action was pending including through trial and the sentencing hearing of the
   defendants on December 19, 2012. There is no record evidence that Agent Jackson
   was engaged in misconduct during the investigation of the instant case which ended in
   January 2012.
         29
            On December 31, 2012, Agent Jackson made a $4,256.18 purchase at
   Bamboo Nightclub in Miami Beach using his undercover credit card. Mr. Chulpayev’s
   $3,500 cash payment was made to offset that purchase.

                                              37
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 38 of 76



   undercover work:30 (1) tickets to Miami Heat game on December 15, 2012; (2) use of a

   BMW from May 25-28, 2012 (Mr. Chulpayev also provided Detective Tyson with use of

   a BMW during this time, see Memorial Day weekend 2012 discussion above); (3) use of

   a Cadillac from July 13-15, 2012; (4) use of a Mercedes from August 2-5, 2012; (5) use

   of a vehicle from August 23-27, 2012; (6) use of a BMW X6 from September 13-15,

   2012 (Agent Jackson was in Miami for trial preparation in the instant case);31 (7) use of

   a BMW X6 and M35 Infiniti from September 18-21, 2012 (Agent Jackson was in Miami

   for trial preparation in the instant case); (8) use of a 6 Series BMW from September 30-

   October 5, 2012 (Agent Jackson was in Miami for trial preparation and for the trial in the

   instant case); (9) use of a vehicle from October 27-29, 2012; (10) use of a vehicle from

   November 10-13, 2012; (11) use of a vehicle from November 30-December 2, 2012;

   (12) use of a Lamborghini from December 12-17, 2012 (Mr. Chulpayev also provided

   Detective Tyson with use of a Mercedes during this time period) and (13) use of a

   vehicle from December 29-January 1, 2013. See Government’s Exhibit 58b.

         Additionally, on November 5, 2012, Mr. Chulpayev purchased a $2,000 wedding

   band on behalf of Agent Jackson. The band was purchased from a friend of Mr.

   Chulpayev who was a jeweler and was obtained at close to fair market value. In

   December 2012, Mr. Chulpayev purchased a designer watch on behalf of Agent


         30
            The defendants maintain that the purpose for which Mr. Chulpayev gave Mr.
   Jackson gifts is immaterial “since the gifts were nonetheless improper.” Mack’s
   Supplemental Memorandum (DE# 272 at 6, 6/30/15). The undersigned agrees with the
   defendants that the purpose for which Mr. Chulpayev gave Mr. Jackson gifts does not
   lessen the fact that Agent Jackson’s actions violated FBI policy.
         31
           Although Agent Jackson had other open cases in South Florida at the time,
   Agent Howell found no evidence he was working on those cases when he came to
   Miami for trial preparation in the instant case.

                                               38
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 39 of 76



   Jackson. The watch was purchased from a jeweler who was a friend of Mr. Chulpayev

   at a “good customer discount.” On several occasions in 2012 or 2013, Mr. Chulpayev

   purchased shoes on behalf of Agent Jackson at a discounted price. Agent Jackson

   reimbursed Mr. Chulpayev for the wedding band, the watch and the shoes. Beginning in

   the summer of 2012, Agent Jackson would eat meals at an Italian restaurant owned by

   a friend of Mr. Chulpayev and would only pay for the tip. Mr. Chulpayev would also lend

   Agent Jackson high-end watches to wear when Agent Jackson was in Miami.

          At the end of 2012 or at the beginning of 2013, Agent Jackson’s supervisors told

   him to stop having contact with Mr. Chulpayev. Agent Jackson continued to have

   contact with Mr. Chulpayev.

          Although he has not yet been terminated, Agent Jackson has been relieved of

   his duties as an FBI agent. As of the date of completion of the parties’ briefs, the

   DOJ-OIG’s investigation into Agent Jackson’s misconduct was ongoing and Agent

   Jackson had not yet been charged with any misconduct. Detective Tyson is not under

   investigation by the DOJ-OIG.

          During the May 31, 2016 evidentiary hearing, Agent Howell testified that if Agent

   Jackson were to be charged with obstruction of justice in connection with the murder of

   Mr. Vernell, that misconduct by Agent Jackson would rank 10 out of 10. Case Agent

   Fowler testified that he would not have used Agent Jackson in this investigation if he

   had known that Agent Jackson had integrity issues. Transcript (DE# 257 at 128,

   6/7/16).

                                           ANALYSIS

          The defendants argue that they are entitled to a new trial under Brady v.


                                               39
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 40 of 76



   Maryland, 373 U.S. 83 (1963) and Rule 33 of the Federal Rules of Criminal Procedure.

   The undersigned will address the requirements of Brady and then proceed to address

   Rule 33.

   A.     Brady Violation

          Under Brady,

          the defendant must show that (1) the government possessed favorable
          evidence to the defendant; (2) the defendant does not possess the
          evidence and could not obtain the evidence with any reasonable
          diligence; (3) the prosecution suppressed the favorable evidence; and (4)
          had the evidence been disclosed to the defendant, there is a reasonable
          probability that the outcome would have been different.

   United States v. Vallejo, 297 F.3d 1154, 1164 (11th Cir. 2002) (citing United States v.

   Meros, 866 F.2d 1304, 1308 (11th Cir. 1989)). The government does not dispute that

   the second element of Brady – that the defendants did not possess and could not have

   obtained the evidence of Agent Jackson's misconduct through reasonable diligence – is

   met here. See Government's Omnibus Response (DE# 191 at 12, 11/2/15).

   Accordingly, the undersigned will only address the three remaining elements of Brady:

   (1) the government possessed evidence favorable to the defendant; (2) the prosecution

   suppressed the favorable evidence and (3) had the evidence been disclosed to the

   defendant, there is a reasonable probability that the outcome would have been

   different.

          1.    Whether the Government Possessed Favorable Evidence to the
                Defendants

          The first prong of Brady is whether the government “possessed” evidence

   favorable to the defendants. This prong has two components: the withheld evidence

   must be both favorable to the defendants and in the government’s possession. The


                                              40
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 41 of 76



   defendants easily meet the favorable evidence requirement because “[e]vidence

   favorable to the accused includes impeachment evidence.” United States v. Newton, 44

   F.3d 913, 918 (11th Cir. 1994) (citing United States v. Bagley, 473 U.S. 667, 682

   (1985)). Here, evidence of Agent Jackson’s misconduct could have been used to

   impeach Agent Jackson’s credibility at trial.

          The second component of the first prong – the government’s possession of the

   evidence – is contested by the parties. In the instant case, it is undisputed that the two

   prosecutors and Case Agent Fowler were unaware of Agent Jackson’s misconduct at

   the time of trial. Thus, the government’s “possession” of the favorable evidence turns

   on whether Agent Jackson’s knowledge of his own misconduct can be imputed on the

   prosecution.

          The parties agree that the issue of whether Agent Jackson’s knowledge can be

   imputed on the prosecution is governed by Arnold v. McNeil, 622 F. Supp. 2d 1294,

   1297 (M.D. Fla. 2009), aff'd and adopted sub nom. Arnold v. Sec'y, Dep't of Corr., 595

   F.3d 1324 (11th Cir. 2010). However, the parties disagree on whether the facts of

   Arnold are analogous to the instant case. As such, a detailed discussion of Arnold is

   merited.

          In Arnold, the defendant was convicted of the sale or delivery of cocaine based,

   in part, on the testimony of Detective Sinclair, the state’s “principal investigator and

   witness.” 622 F. Supp. 2d at 1297-98. At trial, the jury heard testimony that on May 27,

   1998, Detective Sinclair and another officer, Detective Thomas, had been working

   undercover. Id. at 1316-17. On that day, Detective Thomas was posing as a drug

   user/buyer. Id. at 1316. Detective Thomas testified that shortly after he had completed


                                                41
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 42 of 76



   a drug transaction, a man later identified as the defendant passed by on a bicycle and

   briefly conversed with Detective Thomas. Id. Detective “Thomas asked the [man] to sell

   cocaine” to Detective Sinclair who was waiting nearby in an undercover vehicle “so that

   [Detective] Sinclair could also see [the seller].” Id. at 1317. Detective Thomas then

   observed “the seller ride his bicycle to the passenger side of the undercover vehicle,

   make eye contact with [Detective] Sinclair and then ‘hastily’ ride off on his bicycle in the

   other direction, calling out to [Detective] Thomas in response to his shouts that he [the

   seller] would return later.” Id. Both Detective Thomas and Detective Sinclair testified at

   trial that the defendant had been the seller. Id. However, it was Detective Sinclair who

   had provided Detective Thomas with the defendant’s name.32 There was also evidence

   that on the day in question, Detective Thomas only saw part of the seller’s face. Id.

   Thus, Detective Sinclair was “the only person to identify [the defendant] at the scene as

   the seller of the cocaine.” Id. at 1310. At trial, Detective Sinclair testified that he “knew it

   was [the defendant] who had made the sale that day because he had known [the

   defendant] for at least twenty years.” Id. at 1318. In closing argument, “the prosecutor

   suggested to the jury . . . that if the jury ‘still had any doubt’ based on [Detective]



          32
               Detective Sinclair told Detective Thomas about the defendant:

          [Detective] Sinclair explained to [Detective] Thomas that [Detective]
          Sinclair and the seller recognized each other and that the name of the
          individual who sold [Detective] Thomas the crack cocaine was Darryl
          Arnold. . . . Based on [Detective] Sinclair's supplying the name, on the
          following day [Detective] Thomas was able to locate a prior photograph of
          [the defendant]. . . . [Detective Thomas] testified that when he looked at
          the photograph, he made a positive identification, with no doubt in his
          mind at all.

   Arnold, 622 F. Supp. 2d at 1317 (citations to the record omitted).

                                                  42
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 43 of 76



   Thomas’ identification [of the defendant], they need do no more than rely on the

   credible testimony of Detective Sinclair, who had known [the defendant] for twenty

   years.” Id. The defendant was convicted of the drug charge.

          Approximately three years after the defendant’s conviction, Detective Sinclair

   pled guilty to “conspiracy to commit a civil rights violation leading to the murder of [a

   bank customer], conspiracy to distribute cocaine and conspiracy to obstruct justice.”

   Arnold, 622 F. Supp. 2d at 1302. Detective Sinclair had engaged in these criminal acts

   at approximately the same time as the defendant’s arrest and trial. Id. at 1310. In light

   of Detective Sinclair’s criminal acts, the defendant sought habeas relief based on a

   Brady violation.

          The court granted the defendant’s habeas petition finding that all four prongs of

   Brady had been met. Arnold, 622 F. Supp. 2d at 1310-11, 1319. The court determined

   that: (1) the evidence of Detective Sinclair’s criminality was favorable to the defendant

   and was in “possession” of the government; (2) the defendant could not have

   possessed the evidence or obtained it through reasonable diligence; (3) the

   government “suppressed” the evidence and (4) the evidence was material under Brady.

   Id.

          In Arnold, as in the instant case, the prosecutor did not have actual, personal

   knowledge of Detective Sinclair’s misconduct at the time of the defendant’s trial. 622 F.

   Supp. 2d at 1312. Nonetheless, the court recognized that the prosecutor’s lack of

   personal knowledge did not end the inquiry because “Brady applies to exculpatory and

   impeachment information that is in the possession of the ‘prosecution team,’ which

   includes investigators and the police.” Id. at 1312 (citing Kyles v. Whitley, 514 U.S. 419,


                                                43
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 44 of 76



   437 (1995)). The court determined that the government both “possessed” and

   “suppressed” favorable evidence because Detective Sinclair was a member of the

   prosecution team: “Sinclair's knowledge of his own criminal conduct, constituting

   evidence that would be favorable to the defense, demonstrates that the prosecution

   both ‘possessed’ favorable evidence, in satisfaction of Brady’s first prong, and

   ‘suppressed’ exculpatory or impeachment evidence, in satisfaction of Brady’s third

   prong.” Id. at 1316 (footnote omitted).

          The court in Arnold noted that “[t]he facts of [the defendant]’s prosecution [we]re

   distinguishable from . . . other cases . . . in which no Brady violation occurred” because:

          the nature of the information known to Sinclair about his own
          contemporaneous illegal involvement with local drug dealing (i.e.,
          threatening, shaking down, and otherwise co-opting local drug dealers)
          was the same as the nature of the evidence the prosecutor needed
          and secured from Sinclair to convict [the defendant] at trial for the
          sale and delivery of cocaine. Moreover, . . . it was Sinclair's ability to
          identify [the defendant] that was the key to the prosecution's case against
          [the defendant].

   622 F. Supp. 2d at 1315 (emphasis added). The court noted that in closing argument,

   the prosecutor had used Detective Sinclair’s testimony to bolster Detective Thomas’

   identification of the defendant as the person who purchased the narcotics. Id. (stating “if

   there's still any doubt . . . whether or not Detective Thomas was able to make a positive

   identification [of the defendant], which he told you he was positive, [if] you still have any

   doubt that he made a positive identification, you have Detective Sinclair's identification

   when he told you that there's no mistake, it was [the defendant], I've known him for 20

   years.”). The court in Arnold reasoned that:

          Given the necessity of [Detective] Sinclair's information to the prosecution
          of [the defendant] and the similarity of [Detective] Sinclair's criminal
          activities to the nature of the evidence used to convict [the defendant],

                                                44
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 45 of 76



          [the defendant] ha[d] adequately demonstrated that [Detective] Sinclair
          was a member of the prosecution team and his information should be
          imputed to the prosecutor.

   Id. at 1316 n.23.

          The defendants argue that Agent Jackson was a member of the prosecution

   team33 in the same manner as Detective Sinclair was a member of the prosecution

   team in Arnold.

          The government maintains that the instant case is distinguishable from Arnold

   because “[Agent] Jackson’s testimony was corroborated in all material respects due to

   the cumulative nature of the overwhelming evidence in this case and the allegations

   against [Agent] Jackson in no way relate to the evidence that was relied on by the

   prosecution at trial.” Government’s Omnibus Response (DE# 191 at 17, 11/2/15). For

   these reasons, the government argues that Arnold is inapplicable and that the

   prosecution team consisted only of the two AUSAs and Case Agent Fowler.

          The undersigned finds that Agent Jackson’s misconduct is sufficiently related to

   the instant case to meet the first prong of Arnold. The instant case was a narcotics

   investigation. Mr. Chulpayev often provided information to Agent Jackson about drug

   dealers. He also provided money and the use of high-end vehicles to assist Agent

   Jackson with these undercover narcotics investigations. Mr. Chulpayev even



         33
           In his supplemental memorandum, Mr. Mack also argued that the government
   conceded that Agent Jackson was a member of the prosecution team based on a
   statement made by the AUSA at a status hearing on January 11, 2016. See Mack’s
   Supplemental Memorandum (DE# 272 at 9, 6/30/15) (citing Transcript 1-11-16 Status
   Hearing (DE# 222 at 106, 2/26/16)). However, in its supplemental response, the
   government did not concede the issue. See Government’s Supplemental Memorandum
   (DE# 281 at 2, 7/25/15). Accordingly, the undersigned will address the merits of
   whether Agent Jackson was a member of the prosecution team.

                                              45
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 46 of 76



   participated in the Memorial Day weekend investigation by introducing Detective Tyson

   to the targets of the investigation, suspected drug traffickers Decensae White and Gary

   Bradford. Additionally, Mr. Vernell’s murder was motivated by a belief that Mr. Vernell

   had stolen drugs from Mr. White and Mr. White was already the target of Agent

   Jackson’s narcotics investigation at the time of Mr. Vernell’s murder. Agent Jackson

   proceeded to protect Mr. Chulpayev from the murder investigation by lying to Detective

   Williams and withholding information from the Sandy Springs Police Department.

   Additionally, at least with respect to Mr. Mack, the jury heard Mr. Mack being referred to

   as a “dirty cop,” while at the same time, Agent Jackson was himself engaging in

   misconduct.

         Importantly, Agent Jackson’s misconduct was contemporaneous with the instant

   prosecution. This is not a case where an agent’s bad acts took place years before an

   investigation or trial. There was an overlap between Agent Jackson’s misconduct and

   his testimony as a government witness in the trial in this matter. Here, the record

   evidence shows that after the government had concluded its investigation of the

   defendants, but before and during the trial of the defendants, Agent Jackson was

   engaged in protecting Mr. Chulpayev from the murder investigation while at the same

   time receiving things of value from Mr. Chulpayev. At the outset, Agent Jackson lied to

   Detective Williams of the Sandy Springs Police Department leading Detective Williams

   to believe that Mr. Chulpayev was a registered source for the FBI. Agent Jackson

   sought to protect Mr. Chulpayev by initially withholding Mr. Chulpayev’s name from the

   Sandy Springs Police Department and not providing Mr. Chulpayev to the Sandy Spring

   Police Department for an interview. Instead, Agent Jackson interviewed Mr. Chulpayev


                                               46
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 47 of 76



   himself in July 2012 and did not disclose the occurrence of the interview (or information

   provided Mr. Chulpayev during the interview) to the Sandy Springs Police Department

   until October 2012, after the trial in this matter. Agent Jackson’s involvement in the

   investigation of Mr. Vernell’s murder was ultimately damaging to the prosecution of Mr.

   Chulpayev for crimes related to Mr. Vernell’s murder and resulted in the suppression of

   two of Mr. Chulpayev’s statements.

          Additionally as in Arnold, Agent Jackson’s undercover work in the instant case

   was clearly important to the investigation and to the evidence presented at trial. In his

   undercover capacity, Agent Jackson established a relationship with Mr. Bryant which

   led Mr. Bryant to solicit the assistance of Mr. McLendon and Mr. Mack in transporting

   sham cocaine from Club Dolce. Much of the audio-visual evidence used at trial was

   recorded at Agent Jackson’s office in Club Dolce. Agent Jackson was an important

   government witness at trial and was the only witness who testified that the word “t-

   shirts” was commonly understood to be a code word for cocaine. For these reasons, the

   undersigned concludes that under Arnold, Agent Jackson was a member of the

   prosecution team. Agent Jackson’s knowledge of his own misconduct should therefore

   be imputed on the government.

          The defendants also cite Moon v. Head, noting that “[t]he Eleventh Circuit has

   expressly defined the term ‘prosecution team’ to ‘includ[e] both investigative and

   prosecutorial personnel.”’ Mack’s Supplemental Reply (DE# 289 at 2, 9/6/16) (quoting

   Moon v. Head, 285 F.3d 1301, 1309 (11th Cir. 2002)). In Moon, the defendant failed to

   show that an investigator for the Tennessee Bureau of Investigation (“TBI”) was a




                                               47
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 48 of 76



   member of the prosecution team in Georgia. The Eleventh Circuit explained that:

          (1) there was “no evidence that Tennessee law enforcement officials and
          Georgia prosecutors engaged in a joint investigation of the [murder of
          Thomas] DeJose . . . .” (2) “the Georgia and Tennessee agencies shared
          no resources or labor” and “they did not work together to investigate the
          DeJose or Callahan murders. Nor is there evidence that anyone at the TBI
          was acting as an agent of the Georgia prosecutor;” (3) [the TBI
          Investigator] was not under the direction or supervision of the Georgia
          officials, and, had he chosen to do so, could have refused to share any
          information with the Georgia prosecutor” and (4) “[a]t most, the Georgia
          prosecutor utilized [the TBI investigator] as a witness to provide
          background information to the Georgia courts.”

   Id. at 1310 (footnote omitted). The Eleventh Circuit concluded that these facts were

   “insufficient to establish [the TBI Investigator w]as part of the Georgia ‘prosecution

   team.’” Id.

          By contrast, in the instant case, Agent Jackson played an important role in the

   investigation of the defendants. As noted above, most of the recorded meetings took

   place in Agent Jackson’s office at Club Dolce. Agent Jackson’s office was also the pick

   up site for the sham cocaine on December 21, 2011 and January 14, 2012 and the

   location where Mr. Bryant and Mr. McLendon were paid for their work. Additionally, it is

   clear that while the investigation ended in January 2012 and two of the defendants (Mr.

   Bryant and Mr. Mack) were arrested in April 2012,34 shortly thereafter in May 2012,

   Agent Jackson began engaging in misconduct which continued through the trial in the

   instant case.

          Significantly, unlike the TBI investigator in Moon whose testimony served merely

   to provide the court with background information, Agent Jackson was an important



          34
            Mr. McLendon was not arrested until June 21, 2012, after Agent Jackson was
   already engaging in misconduct.

                                               48
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 49 of 76



   government witness. The government used Agent Jackson to provide substantive

   testimony at trial. Thus, Agent Jackson falls within the definition of “prosecution team.”

          For these reasons, the undersigned concludes that Agent Jackson was part of

   the prosecution team and as such, Agent Jackson’s knowledge of his own misconduct

   should be imputed on the government.

          To meet the first prong of Brady, the defendants must show “that the

   Government possessed evidence favorable to the defendant (including impeachment

   evidence). The defendants have met this prong. The record is undisputed that the two

   prosecutors and Case Agent Fowler had no personal knowledge of Agent Jackson’s

   misconduct at the time of trial. Nonetheless, Agent Jackson was a member of the

   prosecution team, and as such, Agent Jackson’s knowledge of his own misconduct

   should be imputed on the government. Thus, the defendants have shown that the

   government was in “possession” of evidence of Agent Jackson’s misconduct. Moreover,

   evidence of Agent Jackson’s misconduct was favorable to the defendants for

   impeachment purposes because it would have undermined Agent Jackson’s credibility

   as a witness.

          2.       Whether the Prosecution Suppressed Favorable Evidence

          Having determined that Agent Jackson was a member of the prosecution team,

   the undersigned further finds that the prosecution suppressed favorable evidence. It is

   undisputed that the defendants were not provided with evidence of Agent Jackson’s

   misconduct at any time before trial. Accordingly, this prong is met.

          3.       Whether There Is a Reasonable Probability That the Outcome Would
                   Have Been Different

          Lastly, the defendants must show that the withheld evidence was material. “The

                                               49
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 50 of 76



   prejudice or materiality requirement is satisfied if ‘there is a reasonable probability that,

   had the evidence been disclosed to the defense, the result of the proceeding would

   have been different.’” Allen v. Sec'y, Florida Dep't of Corr., 611 F.3d 740, 746 (11th Cir.

   2010) (quoting United States v. Bagley, 473 U.S. 667, 682 (1985)). “Materiality is

   determined by asking whether the government's evidentiary suppressions, viewed

   cumulatively, undermine confidence in the guilty verdict.” Id. (citing Kyles v. Whitley,

   514 U.S. 419, 436-37 & n.10 (1995)). “To prevail on his Brady claim, [a defendant] need

   not show that he more likely than not would have been acquitted had the new evidence

   been admitted,” rather “[h]e must show only that the new evidence is sufficient to

   undermine confidence in the verdict.” Wearry v. Cain, 136 S.Ct. 1002, 1006 (2016)

   (citation and internal quotation marks omitted).

          Because there are differences in the evidence presented at trial against each

   defendant, the undersigned will address each defendant individually.

                 a.     Mr. Bryant

          Mr. Bryant argues that his “conviction is irreparably tainted because S/A Jackson

   was pivotal to both the sting operation which resulted in [Mr.] Bryant’s criminal conduct,

   and the prosecution which resulted in his conviction.” Bryant’s Supplemental

   Memorandum (DE# 277 at 2, 7/2/16). According to Mr. Bryant, “Agent Jackson’s

   integrity and credibility were . . . paramount to the government’s case. The evidence of

   Agent Jackson’s improper behavior, in his official capacity as an FBI agent, at the time

   of the trial, would have put the entire case in a different light.” Bryant’s Motion for New

   Trial (DE# 181 at 16, 10/8/15).

          Importantly, it was not Agent Jackson who changed the focus of the undercover


                                                50
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 51 of 76



   investigation from extortion to narcotics. At the evidentiary hearing, Case Agent

   Fowler35 testified that the decision to change the focus of the investigation was made by

   Case Agent Fowler and Miami agents. Additionally, Agent Jackson was not the only

   undercover agent in the instant case. Detective Tyson was present during the two

   meetings where Mr. Bryant and Mr. McLendon took possession of the sham cocaine.

   Both meetings, as well as numerous other meetings and conversations were recorded

   and played for the jury at trial. Thus, a significant amount of evidence that was

   presented at trial against Mr. Bryant was not dependent on Agent Jackson’s credibility.

          Mr. Bryant also raises the issue of entrapment and argues that:

          There exists a real, credible and even likely chance that Bryant was
          entrapped, given S/A Jackson’s untrustworthiness and history of
          dishonesty, coupled with the fact that he orchestrated the sting that
          ensnared Bryant, by engaging in unmonitored conversations for which no
          one but S/A Jackson can account.

   Bryant’s Supplemental Memorandum (DE# 277 at 3-4, 7/2/16).

          Mr. Bryant’s entrapment defense is unsupported by the record evidence. “An

   entrapment defense has two elements: (1) the government induced the crime and (2)

   the defendant lacked predisposition to commit the crime before the inducement.” United

   States v. Toussaint, 627 F. App'x 810, 814 (11th Cir. 2015). The “defendant bears the



         35
             Mr. Bryant suggests that there were unmonitored conversations between
   Agent Jackson and Mr. Bryant because Case Agent Fowler testified that he relied on
   Agent Jackson’s integrity and therefore did not closely monitor Agent Jackson the way
   he would monitor a civilian source. See Bryant’s Supplemental Memorandum (DE# 277
   at 2-3, 7/2/16). The only record evidence of an unrecorded conversation between Agent
   Jackson and Mr. Bryant took place on December 2, 2011 due to an equipment failure.
   Mr. Bryant has not presented any evidence refuting the substance of this conversation
   or shown a deliberate failure by Agent Jackson to record this conversation. Mr. Bryant’s
   remaining claims of unreported/unrecorded conversations between Agent Jackson and
   Mr. Bryant are unsupported.

                                               51
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 52 of 76



   initial burden of production as to the element of governmental inducement.” Id. A

   defendant may meet this initial burden:

          by . . . producing evidence sufficient to create a jury issue “that the
          government's conduct created a substantial risk that the offense would be
          committed by a person other than one ready to commit it.” United States
          v. Brown, 43 F.3d 618, 623 (11th Cir.1995) (quotation marks omitted). The
          defendant meets this burden if he produces evidence that the
          government's conduct included some form of persuasion or mild
          coercion. Id. The defendant may show persuasion with evidence that
          he “had not favorably received the government plan, and the
          government had to ‘push it’ on him, or that several attempts at
          setting up an illicit deal had failed and on at least one occasion he
          had directly refused to participate.”

   Id. at 814 (quoting United States v. Ryan, 289 F.3d 1339, 1344 (11th Cir. 2002)

   (emphasis added)).

          Here, there is no record evidence to support the element of inducement. At no

   point in the recordings did Agent Jackson employ “persuasion or mild coercion.”

   Additionally, and as previously noted, the only evidence of an unrecorded conversation

   between Mr. Bryant and Agent Jackson was the December 2, 2011 meeting. That

   conversation was not recorded due to an equipment failure. Mr. Bryant has presented

   no evidence as to the content of that conversation which would support an entrapment

   defense. Importantly, the audio-visual recordings which were presented to the jury show

   that Mr. Bryant knowingly and willingly participated in Agent Jackson’s plan to transport

   cocaine from Club Dolce on two separate occasions. At no point in the audio-visual

   recordings did Mr. Bryant express reluctance to participating in this criminal activity.

          Mr. Bryant’s Brady claim fails because he cannot show that the withheld

   evidence of Agent Jackson’s misconduct was material. “[M]ateriality is not a sufficiency

   of evidence test.” Dennis v. Crews, No. 13-21064-CIV-ZLOCH, 2015 WL 7777274, at


                                                52
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 53 of 76




   *10 (S.D. Fla. Dec. 3, 2015) (citing Kyles, 514 U.S. at 434). “To satisfy Brady’s

   materiality standard, [a defendant] must demonstrate that, had the favorable evidence

   been disclosed to the defense, there is a reasonable probability that the result of the

   proceeding would have been different.” Arnold, 622 F. Supp. 2d at 1319. As to Mr.

   Bryant, there is no reasonable probability that the result of the trial would have been

   different. Even without Agent Jackson’s testimony, the trial evidence against Mr. Bryant

   was overwhelming. Recorded conversations conclusively establish that Mr. Bryant

   agreed to transport what he believed was cocaine on December 21, 2011 and on

   January 14, 2012.

          The audio-visual evidence presented to the jury reveals multiple instances where

   Agent Jackson spoke openly to Mr. Bryant about transporting cocaine. For example,

   during the December 9, 2011 meeting, Agent Jackson used the words “keys” and “kilos”

   in Mr. Bryant’s presence to refer to the drugs that would be transported from Club

   Dolce. See Government’s Exhibit 53 at Tab C, Transcript of 12/9/11 Meeting at 7-8, 20.

   During that same meeting, Agent Jackson told Mr. Bryant that “the amount of money on

   cocaine prices isn’t what it used to be as far as you know.” Id. at 21 (emphasis added).

   Mr. Bryant even hung up on Agent Jackson when Agent Jackson used the word “dope”

   in a conversation on December 10, 2011. See Government’s Exhibit 53 at Tab D,

   Transcript of 12/10/11 Phone Call at 2. A few days later, Mr. Bryant explained to Agent

   Jackson that the reason Mr. Bryant had hung up was because Agent Jackson had used

   “the Coca Cola word.” Government’s Exhibit 53 at Tab E, Transcript of 12/15/11

   Meeting at 4. Agent Jackson told Mr. Bryant during this conversation that he usually




                                               53
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 54 of 76




   used the code word “t-shirts.”36 Agent Jackson continued to use the word “t-shirts” in

   other recorded conversations with Mr. Bryant. Over a month later, Mr. Bryant was still

   concerned enough about the December 10, 2011 hang-up, that he relayed the incident

   to Detective Tyson on January 14, 2012. See Government’s Exhibit 53 at Tab J,

   Transcript of 1/14/12 Meeting at 9-10.

          Importantly, Mr. Bryant was present when Agent Jackson placed “bricks” of sham

   cocaine into a duffel bag on December 21, 2011 and January 14, 2012. During the

   December 21, 2011 meeting, Detective Tyson expressly stated to Mr. Bryant and Mr.

   McLendon: “No deviation, no taste, neither one of y’all get high right?”, Government’s

   Exhibit 53 at Tab G, Transcript of 12/21/11 Meeting at 11, a statement that would be

   consistent with the “bricks” being cocaine. At trial Detective Tyson testified based on his

   experience in law enforcement that cocaine was packaged in the same manner as the

   sham cocaine was packaged in the instant case. See Trial Transcript (DE# 145 at 201-

   203, 1/14/13). He further explained that money would not be packaged in that manner

   because “[w]hen you're delivering money to anyone, people want to make sure that

   what they're getting there is money.” Id. at 202. Detective Tyson also testified that

   based on his experience, you would not leave large sums of money in a parked car in a

   parking lot in the drug business. Id. at 203-204.

          In light of the aforementioned trial evidence, the undersigned concludes that Mr.

   Bryant has failed to meet the materiality prong of Brady. Detective Tyson’s testimony


          36
              Even without Agent Jackson’s trial testimony that “t-shirts” was a commonly
   understood code word for cocaine, the audio-visual evidence shows that Agent Jackson
   directly communicated to Mr. Bryant that Agent Jackson customarily used the word “t-
   shirt” to refer to cocaine. See Government’s Exhibit 53 at Tab E, Transcript of 12/15/11
   Meeting at 4.

                                               54
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 55 of 76




   and the audio-visual evidence presented at trial clearly show – independent of Agent

   Jackson’s testimony – that Mr. Bryant believed he was transporting cocaine for Agent

   Jackson. As such, Mr. Bryant has not shown entitlement to a new trial under Brady.

                b.     Mr. McLendon

         Mr. McLendon also argues that evidence of Agent Jackson’s misconduct was

   material in the instant case. Mr. McLendon argues that “[a]ny attempt by the

   government to merely excise Jackson from the case would be fatal to the prosecution

   of McLendon.” McLendon's Supplemental Memorandum (DE# 276 at 2, 7/1/16). Mr.

   McLendon notes that “[a]bsent Agent Jackson, there was no evidence of any mention

   of drugs in the presence of Mr. McLendon.” McLendon’s Reply (DE# 196 at 4,

   11/16/15) (footnote omitted). Mr. McLendon further asserts that the audio/video

   recordings of Mr. McLendon “counting packages and [Detective Tyson] questioning

   [Mr.] McLendon insultingly about whether he gets high” are “fringe ambiguities” which

   “mean virtually nothing absent discussions that Agent Jackson larded into his

   conversations with codefendant Bryant.” Id. at n.2. Accordingly to Mr. McLendon,

   “[a]bsent [Agent] Jackson[’s testimony], the jury could not have rationally understood

   the full context of the dealings between [Agent] Jackson and [Mr.] Bryant and thus

   could not have known what second-hand knowledge could credibly have trickled down

   to [Mr.] McLendon.” McLendon’s Supplemental Memorandum (DE# 276 at 3, 7/1/16).

   However and as indicated above, the recorded statements between Agent Jackson and

   Mr. Bryant unmistakably show that Agent Jackson and Mr. Bryant spoke about

   transporting drugs. During the December 9, 2011 conversation, Agent Jackson used

   the words “kilos,” “keys” and “cocaine.” See Government’s Exhibit 53 at Tab C,


                                              55
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 56 of 76




   Transcript of 12/9/11 Meeting at 7-8, 20, 21-22. Additionally, when Agent Jackson used

   the word “dope,” Mr. Bryant abruptly hung up the phone. See Government’s Exhibit 53,

   Tab D at 2. Mr. Bryant later explained to Agent Jackson that the reason Mr. Bryant had

   hung up the phone was because Agent Jackson had used the “Coca Cola word.”

   Government’s Exhibit 53 at Tab E, Transcript of 12/15/11 Meeting at 4. Over a month

   later, Mr. Bryant relayed the incident to Detective Tyson. See Government’s Exhibit 53

   at Tab J, Transcript of 1/14/12 Meeting at 9-10. Moreover, Agent Jackson expressly told

   Mr. Bryant that Agent Jackson usually used the word “t-shirts” when referring to drugs.

   See Government’s Exhibit 53 at Tab E, Transcript of 12/15/11 Meeting at 4. Thus, there

   is no merit to Mr. McLendon’s argument that without Agent Jackson’s trial testimony,

   the jury would not have understood that in the recorded conversations Agent Jackson

   and Mr. Bryant were discussing the transportation of drugs.

         The government argues that Mr. McLendon is not entitled to a new trial

   “[b]ecause Detective Tyson was the key witness [that] secured the evidence and gave

   the testimony that incriminated McLendon.” Government’s Supplemental Memorandum

   (DE# 281 at 21-22, 7/25/15).

         At trial, the government presented audio-visual recordings of Mr. McLendon on

   December 21, 2011 and January 14, 2012. On both occasions Agent Jackson filled the

   duffel bag with “bricks” of sham cocaine in Mr. McLendon and Mr. Bryant’s presence.

   Mr. McLendon and Mr. Bryant even moved closer to get a better look at the contents of

   the duffel bag. As noted above, during the December 21, 2011 meeting, Detective

   Tyson expressly stated to Mr. Bryant and Mr. McLendon: “No deviation, no taste,

   neither one of y’all get high right?” Government’s Exhibit 53 at Tab G, Transcript of


                                               56
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 57 of 76




   12/21/11 Meeting at 11. This statement that would be consistent with the “bricks” being

   cocaine.37 On both occasions Mr. Bryant and Mr. McLendon returned to Agent

   Jackson’s office at Club Dolce to obtain payment after making the deliveries. The jury

   also heard testimony from Detective Tyson, based on his experience as a law

   enforcement office, that: (1) cocaine is packaged in the same way as the sham cocaine

   was packaged in the instant case; (2) money would not be packaged this way and (3)

   large sums of money would not be left in a parked car in a mall parking lot in the drug

   business. See Trial Transcript (DE# 145 at 201-204, 1/14/13).38


         37
              Mr. McLendon argues that:

         [Detective] Tyson’s ambiguous hints about people who get high or about
         tampering with the packages was . . . insufficient – particularly absent the
         context provided by Jackson, not merely as to the McLendon interactions,
         but also the recordings of the Jackson-Bryant conversations. That Tyson
         told the defendants that there could be no deviation, test, or taste was
         remarkably ambiguous. Deviation has nothing to do with drugs and
         speaks merely to doing the job as specified. Testing (in the sense of
         chemical testing) was not an intelligible request as there was not a drug
         sale in this case, such that there was no basis for chemical or other actual
         testing. Testing in any slang sense could have meant no more than
         checking or examining the contents—to see what was inside. And the
         ambiguous term “taste” was clearly used in a slang manner—people
         generally do not taste cocaine as that is an extremely unproductive way of
         experiencing its effects; it is a drug that is usually inhaled directly or by
         smoking, and is only rarely injected, but not tasted, by users. So “taste,”
         as a slang term, simply meant ‘take some.’ Moreover, getting a ‘taste’ of
         illicit proceeds is at least as well known a use of the term as getting an
         actual taste of cocaine.

   McLendon’s Supplemental Memorandum (DE# 276 at 9-10, 7/1/16) (footnote omitted).
   At trial, Detective Tyson provided an explanation for why he asked Mr. Bryant and Mr.
   McLendon if they “get high,” see Trial Transcript (DE# 145 at 196, 1/14/13), and the jury
   was entitled to credit that explanation.
         38
              Mr. McLendon argues that:

         [G]iven the government’s admission that the back story for using Club

                                              57
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 58 of 76




          As set forth above, there was ample evidence through audio-visual recordings

   and Detective Tyson’s testimony to support the jury’s verdict against Mr. McLendon

   even without Agent Jackson’s testimony. In light of the presentation of evidence (other

   than Agent Jackson’s testimony) to the jury, Mr. McLendon has failed to show a

   reasonable probability that the outcome of the trial would have been different. Based on

   the foregoing, the undersigned concludes that Mr. McLendon has not shown

   entitlement to a new trial under Brady.

                 c.     Mr. Mack

          Mr. Mack argues that the government’s failure to disclose Agent Jackson’s

   misconduct entitles Mr. Mack to a new trial. Specifically, Mr. Mack argues that

   “[b]ecause ‘t-shirts’ . . . was the only purported reference to drugs ever made in front of

   Mack, [Agent Jackson’s] testimony was critical to the government’s case, both in front

   of the jury, and on appeal.” Mack’s Reply (DE# 194 at 4, 11/16/15).

          The government maintains that Mr. Mack is not entitled to a new trial and notes

   that “Detective Tyson conducted all of the incriminating discussions with Mack during


          Dolce was that it was involved in a money laundering operation,
          DE145:257, and given that a lounge on South Beach is an odd place to
          store, or traffic in, large quantities of cocaine, but an excellent vehicle for
          laundering cash, the mixed message of referring to the packages as
          money meant the context and explanation offered by [Agent] Jackson was
          essential to the government.

   McLendon’s Supplemental Memorandum (DE# 276 at 5, 7/1/16). However, nothing
   precluded Mr. McLendon from making the argument at trial that he believed he was
   transporting money, not drugs. In fact, Mr. McLendon’s counsel told the jury in closing
   argument that the government had failed to show Mr. McLendon knew he was
   transporting drugs and cited to the “this is money” statement by Detective Tyson. See
   Trial Transcript (DE# 147 at 111, 1/14/13). At trial, Detective Tyson provided an
   explanation for his statement “this is money,” see Trial Transcript (DE# 145 at 194,
   1/14/13), and the jury was entitled to believe Detective Tyson’s explanation.

                                                58
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 59 of 76




   [the January 14, 2012] breakfast [meeting] that corroborated . . . Bryant[’s] assurances

   that Mack knew cocaine was involved.” Government's Supplemental Memorandum

   (DE# 281 at 17, 7/25/15) (emphasis in original). The government further notes that

   “Tyson testified that, based on all of his experience, nobody transporting cocaine on

   behalf of someone else would invite a cop to a meeting with the people he’s

   transporting cocaine for unless it was a ‘dirty cop.’” Id. (citing Trial Transcript (DE# 145

   at 209, 1/14/13)). However, Mr. Mack would still be a “dirty cop” if he believed he was

   transporting money in order to assist in the laundering of drug proceeds. It was only

   Agent Jackson who testified that the word “t-shirts” is commonly understood to be a

   code word for cocaine. See Trial Transcript (DE# 145 at 93, 1/14/13).

          The government focuses on Mr. Mack’s knowledge of his participation in a

   criminal act:

          [Mr.] Mack, an armed 16-year police veteran in full uniform, had breakfast
          with two complete strangers who flat out told Mack they were criminals,
          reveling in the thought of police layoffs so they could come down to a
          wide-open Miami and get rich, all because of conversation Tyson initiated
          during Breakfast and explained at trial. Mack was not surprised, or even
          upset, when they admitted they were criminals because Mack was aware
          they were drug dealers long before the breakfast meeting. Mack knew
          beforehand that Bryant was going to use the fake name “James” to
          introduce him which is why he was not surprised and did not correct
          Bryant and is also why he [was not wearing] his name tag. Mack fully
          understood cocaine was involved because he calmly agreed with Tyson’s
          street-talk admonishment that Tyson would be “f*cked” if Mack got “shaky”
          and subsequently changed his mind and that Tyson would be concerned
          about being “robbed” by Mack, so the drug deal would be cancelled and
          “ain’t nobody making money.”

   Government's Supplemental Memorandum (DE# 281 at 17-18, 7/25/15). The record

   evidence is clear that Mr. Mack knew he was engaged in illegal activity. See supra. He

   did not object to the use of a pseudonym and showed up to the January 14, 2012


                                                59
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 60 of 76




   breakfast meeting in full uniform, but no name tag, among other things. The issue here

   is whether Mr. Mack knew he was conspiring to possess with intent to distribute cocaine

   (Count 1); attempting to possess with intent to distribute cocaine (Count 3) and

   possessing a firearm in furtherance of drug trafficking (Count 4) -- the crimes which the

   jury found Mr. Mack guilty.

          The government further argues that Mr. Mack would not have wanted to impeach

   Agent Jackson regarding the meaning of the word “t-shirts:”

          Most notably, Mack neglects to mention that Jackson repeatedly testified
          at trial that he had no idea whether Mack knew, or even had a “clue,” that
          t-shirts was a code word for cocaine (GX53:O:115, 126). This portion of
          Jackson’s testimony is critical because it completely undercuts Mack’s
          argument that newly discovered evidence would have successfully
          impeached Jackson’s “t-shirt” testimony. Mack would not even want to
          impeach Jackson’s testimony that he did not have a “clue” whether Mack
          knew “t-shirts” was a code word for cocaine because Jackson’s testimony
          in this regard was very favorable to Mack. Attempting to impeach
          Jackson’s personal knowledge that “t-shirts” was a common code word for
          cocaine would have been equally ineffective because Jackson told Bryant
          he “usually” uses this code word during their recorded meeting on
          December 15th (GX53:E:4). And, to be perfectly clear, Jackson
          specifically testified that he was not imputing Bryant’s knowledge of
          Jackson’s code word to Mack (GX53:O:115).

   Government's Supplemental Memorandum (DE# 281 at 19, 7/25/15) (emphasis in

   original). Mr. Mack responds that “[Agent] Jackson still provided the only evidence from

   which the jury could find – and from which the government argued – that [Mr.] Mack

   must have known that “T-shirts” meant drugs” and “the Eleventh Circuit cited this

   testimony in sustaining . . . [Mr. Mack’s] conviction,” thereby proving that this testimony

   was material. See Mack’s Supplemental Reply (DE# 289 at 12, 9/6/16) (citing Mack,

   572 F. App'x at 920).

          Mr. Mack further notes that “Agent Jackson was also the only witness who


                                                60
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 61 of 76




   testified that [Mr.] Mack conducted ‘counter-surveillance’ when he pointed out a car in

   the restaurant parking lot – an allegation as subjective as it was incriminating.” Mack’s

   Reply (DE# 194 at 4-5, 11/16/15). The government minimizes the importance of this

   evidence, noting that Agent Jackson was only asked two questions on this subject and

   “[t]he government’s closing argument made a very brief reference to this testimony.”

   Government's Supplemental Memorandum (DE# 281 at 19-20, 7/25/15). The

   government maintains that “[g]iven the conversation that occurred in the restaurant and

   upon leaving the restaurant, the brief and insignificant nature of this evidence makes it

   cumulative, if even that, and in no way supports Mack’s request for a new trial.” Id. at

   20.

          The undersigned agrees with the government that the “counter-surveillance”

   evidence is insignificant and does not provide a basis for a new trial. Nonetheless,

   based on Agent Jackson’s other testimony, the undersigned concludes that there is a

   reasonable probability that had evidence of Agent Jackson’s misconduct been

   disclosed, the outcome of the trial would have been different with respect to Mr. Mack.

   Arnold, 117 F.3d at 1317-18. The only reference to “t-shirts” made in Mr. Mack’s

   presence occurred during a conversation between Mr. Mack and Agent Jackson. See

   Government’s Exhibit 53 at Tab L, Transcript of 1/14/12 Meeting at 61 (stating “So, you

   know, we got this many, this many t-shirts coming through”). After a clip of this

   conversation was played to the jury, Agent Jackson told the jury that he used the word

   “t-shirts” in that conversation to refer to cocaine.39 Detective Tyson was not present


          39
               At trial, Agent Jackson testified as follows:

          Q. And you also say, “This many, this many T-shirts coming through.”

                                                   61
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 62 of 76




   during this conversation.

          The government correctly notes that the jury could have considered Mr. Bryant’s

   numerous recorded statements to Agent Jackson and Detective Tyson as evidence that

   Mr. Mack knew Mr. Bryant and Mr. McLendon were transporting cocaine for Agent

   Jackson on January 14, 2012. See, e.g., Government’s Exhibit 53 at Tab I, Transcript

   of 1/14/12 Meeting at 5, 7-8; Government’s Exhibit 53 at Tab J, Transcript of 1/14/12

   Meeting at 16-17. However, to satisfy the materiality prong of Brady, Mr. Mack is not

   required to show that had the evidence of Agent Jackson’s misconduct been disclosed,

   Mr. Mack would have been acquitted. “‘The question is not whether the defendant

   would more likely than not have received a different verdict with the evidence, but

   whether in its absence he received a fair trial, understood as a trial resulting in a verdict

   worthy of confidence;’ thus, [a defendant] may demonstrate a Brady violation by

   ‘showing that the favorable evidence could reasonably be taken to put the whole case

   in such a different light as to undermine confidence in the verdict.’” Arnold, at 1316

   (quoting Kyles, 514 U.S. at 434). Given that Agent Jackson was the only witness who

   testified that the word “t-shirts” was commonly understood as a code word for cocaine,



          What are you talking about there?

          A. The cocaine. I was very specific with the term I used just because of
          the previous event that happened with Henry Bryant, and I worked drugs
          in Atlanta. That's what I do. I'm an agent on the drug squad. And T-shirts
          is a very common drug term used in Atlanta for drugs. So that's the
          terminology I knew to use. So I referred to the cocaine as T-shirts to avoid
          using cocaine or coke or one of those words that would cause an event.

   Trial Transcript (DE# 145 at 92-93, 1/14/13). During cross-examination, Agent Jackson
   clarified that the word “t-shirts” was used “[n]ot just Atlanta . . . but everywhere.” Id. at
   115.

                                                62
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 63 of 76




   the undersigned is persuaded that confidence in Mr. Mack’s guilty verdict had been

   undermined.

          In sum, the undersigned concludes that Mr. Mack has met all of the Brady

   prongs and is entitled to a new trial.40 Mr. Bryant and Mr. McLendon have failed to show

   a reasonable probability that the outcome would have been different and are therefore

   not entitled to a new trial under Brady.

                 d.     Miscellaneous Arguments

          The defendants raise numerous additional arguments which are not persuasive.

   The undersigned rejects the argument that Agent Jackson’s misconduct undermines

   the quality of the investigation as a whole. See, e.g., Mack’s Supplemental

   Memorandum (DE# 272 at 13-14, 6/30/15). Case Agent Fowler testified that the

   decision to change the focus of the investigation from extortion to narcotics was made

          40
             In his supplemental memorandum, Mr. Mack argues that in addition to Brady,
   the government also violated Giglio and Bagley. See Mack’s Supplemental
   Memorandum (DE# 272 at 15, 6/30/15) (stating that “the government’s failure to
   disclose the evidence violated Brady, Giglio, and Bagley, as well as the Due Process
   Clause of the Fifth Amendment, and should result in a new trial.”). In this Report and
   Recommendation the undersigned finds that Mr. Mack is entitled to a new trial under
   Brady. Therefore it is unnecessary to address Mr. Mack’s arguments concerning other
   violations. To the extent Mr. Bryant and Mr. McLendon are seeking to rely on Giglio,
   Bagley and the Due Process Clause, the undersigned finds that Mr. Bryant and Mr.
   McLendon are not entitled to relief. There is no Giglio violation here: while Agent
   Jackson’s credibility is at issue, there is no record evidence that Agent Jackson
   presented perjured testimony at trial. See Hammond v. Hall, 586 F.3d 1289, 1306-07
   (11th Cir. 2009) (stating that “[a] Giglio claim involves an aggravated type of Brady
   violation in which the suppression of evidence enabled the prosecutor to put before the
   jury what he knew was false or misleading testimony . . . or allowed the prosecutor
   himself to make a false statement to the jury.”) (citations omitted). Mr. Bryant and Mr.
   McLendon are not entitled to relief under Bagley because they cannot show materiality
   for the reasons discussed in this Report and Recommendation. See Kyles, 514 U.S. at
   434-438 (discussing materiality under Bagley). Finally, the undersigned concludes Mr.
   Bryant and Mr. McLendon have not shown a due process violation because they cannot
   show materiality.

                                              63
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 64 of 76




   by the case agent and other Miami agents and was not made by Agent Jackson.

   Additionally, the only evidence of a recording malfunction occurred on December 2,

   2011 during a meeting between Agent Jackson and Mr. Bryant. As discussed in this

   Report and Recommendation, Mr. Bryant’s own recorded statements show that Mr.

   Bryant was well aware that the December 21, 2011 and January 14, 2012 deliveries

   were of cocaine. Additionally, Mr. Mack and Mr. McLendon were not present at the

   December 2, 2011 meeting. Thus, there is no record evidence to support the argument

   that the December 2, 2011 audio/visual equipment failure would have been material as

   to any of the defendants.

         The defendants note that “Agent Jackson also vouched for the existence of the

   sham cocaine, which had gone missing prior to trial.” Mack’s Supplemental

   Memorandum (DE# 272 at 14, 6/30/15); see also McLendon's Supplemental

   Memorandum (DE# 276 at 14, 7/1/16) (referring to “the important fact of the

   unexplained loss of crucial evidence: the supposed sham cocaine packages from the

   initial transportation and at least one recorded conversation between Jackson and

   Bryant.”).41 However, as the government points out, another agent, Agent Wanda Mitial,

   “testified she had collected this evidence and [gave] it to the case agent on the day the

   operation was concluded.” Government’s Omnibus Response (DE# 191 at 15, 11/2/15)

   (citing Trial Transcript (DE# 146 at 114-121, 1/14/13). The jury was shown audio-visual

   evidence of Agent Jackson placing the sham cocaine into a duffel bag on December

   21, 2011 and on January 14, 2012. See Government’s Exhibit 9 at Clip 2 (Video Clip);


         41
            Mr. McLendon also raises “[t]he unexplained failure to pursue charges against
   another officer, Taurus Barron,” McLendon's Supplemental Memorandum (DE# 276 at
   14, 7/1/16), but fails to link that decision to Agent Jackson.

                                               64
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 65 of 76




   Government Exhibit 13, Clip 1 (Video Clip). Additionally, the government introduced into

   evidence photographs of the sham cocaine. See Government’s Exhibits 18a-d and 20a-

   d. Thus, Agent Jackson’s testimony vouching for the existence of the sham cocaine

   was not material.

          The undersigned also rejects the argument that “evidence of Jackson’s improper

   relationship with Chulpayev would have also raised questions about the character of

   KayTee Tyson.” Mack’s Supplemental Memorandum (DE# 272 at 14, 6/30/15); Mack's

   Supplemental Reply (DE# 289 at 2 n.1, 9/6/16) (asserting that “Tyson’s close friendship

   with Jackson as well as his repeated partnership with both Jackson and Chulpayev

   would have provided grounds for defense counsel to question Tyson’s integrity right

   along with that of Jackson.”); McLendon's Supplemental Memorandum (DE# 276 at 14,

   7/1/16) (arguing that “Tyson’s exaggerations of the evidence . . . in his testimony

   at the evidentiary hearing and his suggestions of defense of Jackson, show that it was

   consistent with his friendship with Jackson to cover for Jackson’s failure to clearly

   eliminate the notion of a money laundering operation as the subject of the two trips to

   Aventura.”). There is no record evidence of any wrongdoing by Detective Tyson.

   Detective Tyson did not know and had no reason to know that Mr. Chulpayev was the

   source of the money and cars provided to Detective Tyson by Agent Jackson. With

   respect to Detective Tyson’s alleged “exaggerations” at the evidentiary hearing, the

   defendants have failed to show that Detective Tyson exaggerated his testimony at trial

   or had reason to testify at trial in a manner that favored Agent Jackson, particularly

   since there is no record evidence that Detective Tyson knew of Agent Jackson’s

   misconduct at the time of trial. Detective Tyson’s friendship with Agent Jackson does


                                               65
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 66 of 76




   not affect the undersigned’s determination that the jury was permitted to rely on

   Detective Tyson’s testimony at trial.

          In sum, Brady prohibits “the suppression by the prosecution of evidence

   favorable to an accused . . . where the evidence is material either to guilt or to

   punishment. . . .” Brady, 373 U.S. at 87. Mr. Mack has met all four prongs of Brady and

   is entitled to a new trial. Because Mr. Bryant and Mr. McLendon have failed to show

   that evidence of Agent Jackson’s misconduct was material in their case, they have not

   shown a Brady violation.

   B.     Rule 33

          Alternatively, the defendants argue that they are entitled to a new trial under

   Rule 33. To obtain a new trial based on newly discovered evidence under Rule 33, the

   defendants must show:

          (1) the evidence was discovered after trial, (2) the failure of the defendant
          to discover the evidence was not due to a lack of due diligence, (3) the
          evidence is not merely cumulative or impeaching, (4) the evidence is
          material to issues before the court, and (5) the evidence is such that a
          new trial would probably produce a different result.

   United States v. Brinson, 628 F. App'x 1018, 1020-21 (11th Cir. 2015). “The failure to

   satisfy any one of these elements is fatal to a motion for a new trial.” Id. (citation and

   internal quotation marks omitted).

          In the instant case, the government concedes two elements: (1) that the

   evidence was newly discovered and had been unknown to the defendants at the time of

   trial and (2) that the failure to learn of the evidence was not due to a lack of due

   diligence on the part of the defendants. See Government’s Omnibus Response (DE#

   191 at 22, 11/2/15). With respect to the remaining factors, the government relies on the


                                                66
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 67 of 76




   arguments raised in response to the asserted Brady violation. Id.

          For the reasons stated below, the undersigned finds that all of the defendants

   have failed to show that evidence of Agent Jackson’s misconduct was more than

   merely impeachment evidence. Additionally, Mr. Bryant and Mr. McLendon have failed

   to show that the withheld evidence was material to the issues before the Court and that

   it was such that a new trial would probably produce a different result.

          Because the defendants must satisfy all five elements of Rule 33 to obtain a new

   trial, the Court should DENY the defendants’ motions on this ground.

          1.     Whether Evidence was Not Merely Cumulative or Impeaching

          The undersigned finds that evidence of Agent Jackson’s misconduct constitutes

   impeachment evidence. Therefore, the defendants have failed to meet this element of

   Rule 33.

          The defendants argue that the evidence of Agent Jackson’s misconduct was

   more than mere impeachment evidence because the government would not have called

   Agent Jackson to testify at trial had the evidence of the misconduct been made public

   at that time. See Mack’s Supplemental Memorandum (DE# 272 at 16-17, 6/30/16). The

   defendants note that: (1) Case Agent Fowler testified that he would not have used

   Agent Jackson if issues concerning Agent Jackson’s integrity had been known at that

   time; (2) Special Agent Howell testified that Agent Jackson has not been used as a

   witness in any FBI case since allegations of his misconduct became public and (3) it

   has been established that Agent Jackson would have asserted his Fifth Amendment

   rights if called to testify had the evidence of his misconduct been disclosed to the

   defendants at the time of trial. Id. at 16-17.


                                                    67
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 68 of 76




          The government maintains that “arguments that Jackson would have asserted

   his rights under the Fifth Amendment had the criminal investigation commenced prior to

   trial serve no purpose” because “[t]he criminal investigation had not started and no

   evidence exists that one would have started given the facts that existed in October of

   2012.” Government’s Supplemental Memorandum (DE# 281 at 26, 7/25/15).

          The defendants rely on United States v. Jones, 84 F. Supp. 2d 124, 126-27

   (D.D.C. 1999) for the proposition that evidence is more than mere impeachment where

   it would have prevented a witness from testifying at trial. See Mack’s Supplemental

   Memorandum (DE# 272 at 16-17, 6/30/16). The government argues that Jones is

   distinguishable from the instant case because the evidence in Jones was not merely

   impeaching, but also false. See Government’s Supplemental Memorandum (DE# 281

   at 26, 7/25/15). The government notes that there is no evidence that Agent Jackson’s

   testimony was false. Id.

          In Jones, the defendant was convicted on a single count of possession with

   intent to distribute heroin. Jones, 84 F. Supp. 2d at 124. During the trial, the

   government called Detective Brown, a narcotics expert, to provide expert testimony. Id.

   The defendant’s counsel stipulated to Detective Brown’s qualifications as an expert and

   “Detective Brown did not testify at [the defendant’s] trial about his qualifications.” Id. In a

   subsequent, unrelated proceeding, Detective Brown’s credentials were called into

   question and it was discovered that Detective Brown had “in the past . . . held himself

   out as having a degree in pharmacology” when he held no such degree. Id. at 124. In

   light of this newly discovered evidence, the defendant moved for a new trial under Rule

   33. Id. The court granted the defendant’s motion. It found that not only would this newly


                                                 68
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 69 of 76




   discovered evidence have impeached Detective Brown’s credibility, it “would have kept

   [Detective] Brown from taking the stand at all.” Id. at 126. The court further found that

   Detective Brown’s testimony “filled in all of the gaps of the government’s case and was

   clearly material to the jury’s determination.” Id. Notably, the defendant was not caught

   with drugs on his person. Rather, the defendant had “offered something called ‘Party

   with the stars’” to a plainclothes police officer. Id. at 125. The court noted that the

   defendant’s “offering of ‘Party with the stars’ to [the plainclothes police officer was]

   damning because [Detective] Brown identified ‘Party with the stars’ as a brand of

   heroin.” Id. at 126. Additionally, the defendant was found with $25.00 in his possession

   and Detective Brown provided “testimony that a small bag of heroin costs between $20

   and $25” and Detective “Brown’s testimony alone allowed the jury to imply that [the

   defendant] received $25 for the sale of a small bag of heroin.” Id. The court also noted

   that “[h]ad that evidence been available at the time of [the defendant’s] trial, it is

   inconceivable that [Detective] Brown would have been offered as a witness by the

   government.” Id. at 126-27.

          The undersigned does not agree with the reasoning in Jones and Jones is not

   binding on this Court. In addition, Jones is distinguishable from the instant case

   because it involved the testimony of an expert. Evidence of Detective Brown’s lack of a

   pharmacology degree and his prior false statements about that degree would have

   raised questions about Detective Brown’s qualifications as a narcotics expert.

   Moreover, unlike in Jones, evidence of Agent Jackson’s misconduct is not “such that a

   new trial would probably produce a different result” with respect to Mr. Bryant and Mr.

   McLendon. This is because the other evidence presented at trial – audio-visual


                                                 69
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 70 of 76




   recordings and Detective Tyson’s testimony – support Mr. Bryant and Mr. McLendon’s

   convictions for the reasons already stated in this Report and Recommendation. There

   is nothing in the Jones decision that relieves Mr. Bryant and Mr. McLendon from the

   burden of establishing the probability of a different result. In Jones, the trial court noted

   that not all convictions obtained in cases where Detective Brown’s testified as an expert

   would be overturned. Id. at 127 (“The Court is mindful of the problem now facing the

   government in the many cases where Detective Brown gave expert witness testimony

   on the drug trade in this city. . . . This Court is permitted only to consider this case, on

   the facts before it.”) (footnote omitted). The court noted that at least one judge had

   denied a new trial in a case where Detective Brown had testified because “the

   remaining evidence was overwhelming against the defendant.” Id. at 127 n.1. The same

   is also true for Mr. Bryant and Mr. McLendon.

          The defendants further argue that evidence of Agent Jackson’s misconduct is

   more than mere impeachment evidence because the government itself has questioned

   Agent Jackson’s integrity and is currently pursuing a criminal investigation into Agent

   Jackson’s misconduct. See Mack’s Supplemental Memorandum (DE# 272 at 18,

   6/30/15). Mr. Mack cites Espinosa-Hernandez, 918 F.3d 911 (11th Cir. 1990) and

   Mesarosh v. United States, 352 U.S. 1 (1956) “for the proposition that when the

   government itself has cause to question the credibility of a government agent (or the

   equivalent thereof, in the Mesarosh case) newly discovered evidence may be more

   than merely impeaching.” Id. at 19 (internal quotation marks omitted). The undersigned

   is unpersuaded by this argument and in any event Mr. Bryant and Mr. McLendon have

   failed to overcome the other elements of a Rule 33 motion for new trial.


                                                 70
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 71 of 76




           The defendants also argue that it would have been unlikely that the government

   would have been able to authenticate the audio-visual evidence without Agent

   Jackson’s testimony. See Mack’s Supplemental Memorandum (DE# 272 at 16-17,

   6/30/16); Bryant's Supplemental Memorandum (DE# 277 at 5, 7/2/16) (stating that

   “[t]here are several recordings of conversations between S/A Jackson and Bryant that

   the Government would . . . be unable to authenticate if S/A Jackson was unavailable to

   testify.”).

            The defendants’ authentication argument lacks merit. The December 21, 2011

   and January 14, 2012 meetings where Mr. Bryant and Mr. McLendon took possession

   of the sham cocaine and the January 14, 2012 breakfast meeting could have been

   authenticated at trial by Detective Tyson because he was present at those events.

   Although Detective Tyson was not present for the numerous recorded conversations

   between Agent Jackson and Mr. Bryant which took place in December 2011, the

   government could have still authenticated this evidence through Detective Tyson. In

   United States v. Ligambi, 891 F. Supp. 2d 709 (E.D. Pa. 2012), an informant had

   passed away and was therefore unavailable as a witness. The government was

   nonetheless permitted to authenticate the voices on the tape recordings made by the

   informant through “both direct and circumstantial evidence . . . including voice

   identification, surveillance team identification, and self-identification by various

   participants.” Id. at 718. Similarly here, the government could have used Detective

   Tyson to authenticate the voices on the December 2011, recordings of Mr. Bryant and

   Agent Jackson. Detective Tyson was clearly familiar with both Mr. Bryant and Agent

   Jackson’s voices. Detective Tyson personally met and spoke with Mr. Bryant on


                                                 71
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 72 of 76




   December 21, 2011 and January 14, 2012. Additionally, Detective Tyson was a long

   time friend of Agent Jackson and was therefore competent to identify Agent Jackson’s

   voice. Most of the December 2011 conversations between Agent Jackson and Mr.

   Bryant were visually recorded (in addition to audio). Thus, Detective Tyson could have

   also identified both men by sight. The defendants’ argument that the government would

   not have been able to authenticate the audio-visual and recorded evidence without

   Agent Jackson lacks merit.42

         Finally, the defendants argue that the withheld evidence is more than mere

   impeachment evidence because of the seriousness of Agent Jackson’s misconduct:

         The evidence in this case meets this standard. It cannot be forgotten that
         this was a public corruption case, where the government repeatedly
         accused Mack of being a “dirty cop.” The fact that Agent Jackson, who
         was the central figure in the undercover investigation, has since been


         42
              Additionally, the presentation of the audio-visual recordings of Agent Jackson
   would not have violated the Confrontation Clause if Agent Jackson had not testified at
   trial. In United States v. Price, 792 F.2d 994, 996 (11th Cir. 1986), the defendant
   delivered hashish oil to a confidential informant. “[The informant] made consensual tape
   recordings of telephone conversations and meetings with [the defendant].” The
   informant died a few months later. Id. The government presented the recorded
   conversations as evidence at trial and secured the defendant’s conviction. Id. On
   appeal, the Eleventh Circuit rejected the defendant’s argument that his “Sixth
   Amendment right of confrontation and to present a defense was violated when the court
   allowed the introduction of these taped conversation between [the informant] and [the
   defendant] into evidence.” Id. The Eleventh Circuit reasoned that:

         Because [the informant]’s statements were not hearsay, but rather were
         offered to put into context those statements of [the defendant], [the
         informant was] not subject to impeachment under the first part of that rule.
         Nor were [the informant]’s statements admitted against [the defendant]
         and were not statements by an agent, a person authorized, or a
         co-conspirator under FRE 801(d)(2), (C), (D), or (E). Therefore, FRE 806
         does not apply to allow impeachment of [the informant].

   Id. at 996-97. Here, Agent Jackson’s statements in the audio-visual recordings would
   have also been introduced to provide context.

                                              72
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 73 of 76




          proven to be a ‘10 out of 10’ on the corruption scale, would have turned
          the government’s case on its head, and goes well beyond “merely”
          impeaching the testimony of a single witness.

   Mack’s Supplemental Memorandum (DE# 272 at 20, 6/30/16) (emphasis in original).

   The undersigned disagrees with the characterization of the instant case as a public

   corruption case. None of the defendants were charged with public corruption in this

   case. Moreover, it is clear that the public corruption component of the investigation had

   ended by the time Mr. Mack and Mr. McLendon became targets of the investigation. By

   that time, the case had become a narcotics investigation. In any event, Mr. Bryant and

   Mr. McLendon cannot show that the evidence of Agent Jackson’s misconduct was such

   that a new trial would probably produce a different result.

          2.     Whether the Evidence is Material to the Issues Before the Court

          The defendants argue that Agent Jackson’s testimony was highly material at

   trial. According to the defendants, Agent Jackson’s trial testimony “filled in the gaps in

   the government’s case” because Agent Jackson “was permitted to testify as to what he

   understood the highly ambiguous audio visual evidence in the case to mean.” Mack’s

   Supplemental Memorandum (DE# 272 at 17, 6/30/15). The government characterizes

   Agent Jackson’s “comments about portions of the videos [as] self-explanatory.”

   Government’s Supplemental Memorandum (DE# 281 at 26, 7/25/15). The undersigned

   rejects the argument that Agent Jackson’s testimony was material to securing the

   convictions of Mr. Bryant and Mr. McLendon for the reasons already stated in this

   Report and Recommendation. Additionally, it is not necessary to reach the Rule 33

   argument with respect to Mr. Mack because he is entitled to a new trial under Brady.




                                                73
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 74 of 76




          3.     Whether the Evidence Is Such That a New Trial Would Probably
                 Produce a Different Result

          The last element under Rule 33 is “substantially similar” to the materiality inquiry

   under Brady. United States v. Phillips, 177 F. App'x 942, 959 (11th Cir. 2006) (noting

   that “the materiality inquiry under the Brady test is substantially similar to the final step

   of the Rule 33 test.”). For the reasons already stated in the Brady analysis, Mr. Bryant

   and Mr. McLendon have not shown that a new trial would probably produce a different

   result. The undersigned has already determined that Mr. Mack is the only defendant

   who has met the materiality requirement of Brady. For the reasons already stated, Mr.

   Mack is also the only defendant who meets the final element of Rule 33.

          In sum, none of the defendants have shown entitlement to a new trial under Rule

   33 because they have failed to show that evidence of Agent Jackson’s misconduct was

   more than mere impeachment evidence. Additionally, Mr. Bryant and Mr. McLendon

   have failed to show that a new trial would probably produce a different result.

   C.     Mr. Bryant and Mr. McLendon’s Convictions for Aiding and Abetting

          The defendants also argue that “[i]f Mack’s conviction was improperly obtained,

   [Mr. Bryant and] McLendon’s § 924(c) conviction was likewise improperly obtained.”

   McLendon’s Supplemental Memorandum (DE# 276 at 16, 7/1/16) (citing United States

   v. Martin, 747 F.2d 1404, 1408 (11th Cir. 1984)). The government did not address this

   argument.

          Mr. Bryant and Mr. McLendon have not shown that they would be entitled to a

   new trial on the firearm charge (Count 4), if Mr. Mack is granted a new trial. Mr. Bryant

   and Mr. McLendon have failed to show that confidence in their guilty verdicts for the



                                                 74
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 75 of 76




   firearm charge (Count 4) would be undermined. If this Report and Recommendation is

   adopted, Mr. Mack would not be acquitted, he would merely be receiving a new trial.

   Moreover, confidence in Mr. Bryant and Mr. McLendon’s convictions does not hinge on

   Mr. Mack’s conviction. See United States v. Raffone, 693 F.2d 1343, 1348 (11th Cir.

   1982) (noting that “[i]n Standefer v. United States, 447 U.S. 10, 100 S.Ct. 1999, 64 L.

   Ed. 2d 689 (1980), the Supreme Court ruled that the acquittal of a charged principal

   does not foreclose the subsequent conviction of an aider and abettor.”). Accordingly,

   the Court should deny Mr. Bryant and Mr. McLendon’s motion for new trial on this

   ground.

                                    RECOMMENDATION

         In accordance with the foregoing, the undersigned respectfully RECOMMENDS

   that the Defendant Henry Lee Bryant’s Rule 33 Motion for New Trial Based on Newly

   Discovered Evidence with Incorporated Memorandum of Law, and Motions for Full

   Discovery, for an Evidentiary Hearing, and to Adopt the Corresponding Motions Filed or

   to be Filed by and on behalf of Codefendants Mack & McLendon (DE# 181, 10/8/15)

   and Defendant McLendon’s Motion for New Trial and an Evidentiary Hearing and

   Supporting Memorandum of Law (DE# 187, 10/13/15) be DENIED and that Defendant

   Daniel Mack’s Motion for New Trial Pursuant to Fed. R. Crim. P. Rule 33 and Brady v.

   Maryland, 373 U.S. 83 (1963), and Request for Hearing (DE# 182, 10/8/15) be

   GRANTED.

         The parties shall have fourteen (14) days from the date of being served with a

   copy of this Report and Recommendation within which to file written objections, if any,

   with the Honorable Federico A. Moreno, United States District Judge. Failure to file


                                              75
Case 1:12-cr-20276-FAM Document 291 Entered on FLSD Docket 10/27/2016 Page 76 of 76




   objections timely shall bar the parties from a de novo determination by the District

   Judge of an issue covered in the Report and shall bar the parties from attacking on

   appeal unobjected-to factual and legal conclusions contained in this Report except

   upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C. §

   636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790,

   794 (1989); 11th Cir. R. 3-1 (2016).

         RESPECTFULLY SUBMITTED in Chambers, at Miami, Florida, this 27th day of

   October, 2016.



                                            __________________________________
                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE
   Copies to:
   United States District Judge Moreno
   All counsel of record




                                               76
